                                        Case 17-25508-EPK                         Doc 11         Filed 01/08/18       Page 1 of 57
 Fill in this information to identify your case and this filing:

  Debtor 1               Kevin                  Christopher            Gleason
                         First Name             Middle Name            Last Name

  Debtor 2               First Name             Middle Name            Last Name
  (Spouse, if filing)

  United States Bankruptcy Court for the:                             Southern District of Florida
                                                                                                                                             ❑Check if this is an
  Case number           17-25508                                                                                                                amended filing


Official Form 106A/B
Schedule A/B: Property                                                                                                                                                    12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you think it
fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

 1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
     ❑ No. Go to Part 2.
     ✔ Yes. Where is the property?
     ❑
     1.6     Residence                                             What is the property? Check all that apply.        Do not deduct secured claims or exemptions. Put the
           Street address, if available, or other
           description
                                                                   ✔ Single-family home
                                                                   ❑                                                  amount of any secured claims on Schedule D:
                                                                   ❑ Duplex or multi-unit building                    Creditors Who Have Claims Secured by Property.
             1504 Summer Ave                                       ❑ Condominium or cooperative                      Current value of the           Current value of the
                                                                   ❑ Manufactured or mobile home                     entire property?               portion you own?
             Jupiter, FL 33469-3120                                ❑ Land                                                        $320,000.00                          $0.00
           City                         State       ZIP Code       ❑ Investment property
                                                                   ❑ Timeshare                                       Describe the nature of your ownership interest (such
                                                                                                                     as fee simple, tenancy by the entireties, or a life
             Palm Beach
           County
                                                                   ❑ Other                                           estate), if known.
                                                                   Who has an interest in the property? Check one.
                                                                                                                     Inchoate curtesy interest, subject to 1st priority
                                                                   ❑ Debtor 1 only                                   purchase-money note and mortgage on which
                                                                   ❑ Debtor 2 only                                   Debtor is not liable
                                                                   ❑ Debtor 1 and Debtor 2 only
                                                                   ✔ At least one of the debtors and another
                                                                   ❑                                                 ❑ Check if this is community property
                                                                                                                        (see instructions)



    If you own or have more than one, list here:

     1.1     Office Property                                       What is the property? Check all that apply.        Do not deduct secured claims or exemptions. Put the
           Street address, if available, or other
           description                                             ❑ Single-family home                               amount of any secured claims on Schedule D:
                                                                   ❑ Duplex or multi-unit building                    Creditors Who Have Claims Secured by Property.
             4121 N 31st Ave                                       ❑ Condominium or cooperative                      Current value of the           Current value of the
                                                                   ❑ Manufactured or mobile home                     entire property?               portion you own?
             Hollywood, FL 33021-2011                              ❑ Land                                                        $157,310.00                   $157,310.00
           City                         State       ZIP Code       ✔ Investment property
                                                                   ❑
                                                                   ❑ Timeshare                                       Describe the nature of your ownership interest (such
                                                                                                                     as fee simple, tenancy by the entireties, or a life
             Broward
           County
                                                                   ❑ Other                                           estate), if known.
                                                                   Who has an interest in the property? Check one.
                                                                   ✔ Debtor 1 only
                                                                                                                     Fee Simple
                                                                   ❑
                                                                   ❑ Debtor 2 only
                                                                   ❑ Debtor 1 and Debtor 2 only                      ❑ Check if this is community property
                                                                   ❑ At least one of the debtors and another
                                                                                                                        (see instructions)




Official Form 106A/B                                                                  Schedule A/B: Property                                                     page 1
 Debtor 1              Kevin
                                       CaseChristopher
                                            17-25508-EPKGleason
                                                             Doc 11                            Filed 01/08/18      Page    2 of 57
                                                                                                                    Case number (if known) 17-25508
                       First Name                 Middle Name              Last Name



   1.2      Three Contiguous Lots                               What is the property? Check all that apply.        Do not deduct secured claims or exemptions. Put the
         Street address, if available, or other
         description                                            ❑ Single-family home                               amount of any secured claims on Schedule D:
                                                                ❑ Duplex or multi-unit building                    Creditors Who Have Claims Secured by Property.
            1312 Polk St                                        ❑ Condominium or cooperative                      Current value of the       Current value of the
                                                                ❑ Manufactured or mobile home                     entire property?           portion you own?
            Hollywood, FL 33019-1037                            ❑ Land                                                        $630,880.00               $315,440.00
         City                         State        ZIP Code     ✔ Investment property
                                                                ❑
                                                                ❑ Timeshare                                       Describe the nature of your ownership interest (such
                                                                                                                  as fee simple, tenancy by the entireties, or a life
            Broward
         County
                                                                ❑ Other                                           estate), if known.
                                                                Who has an interest in the property? Check one.
                                                                                                                  1/2 undivided interest as tenant-by-entireties
                                                                ❑ Debtor 1 only
                                                                ❑ Debtor 2 only
                                                                ❑ Debtor 1 and Debtor 2 only                      ❑ Check if this is community property
                                                                ✔ At least one of the debtors and another
                                                                ❑
                                                                                                                     (see instructions)



   1.3      Vacant Land 288th St +/- 1.25 Acre                  What is the property? Check all that apply.        Do not deduct secured claims or exemptions. Put the
         Street address, if available, or other
         description                                            ❑ Single-family home                               amount of any secured claims on Schedule D:
                                                                ❑ Duplex or multi-unit building                    Creditors Who Have Claims Secured by Property.
            16469 NW 288th St                                   ❑ Condominium or cooperative                      Current value of the       Current value of the
                                                                ❑ Manufactured or mobile home                     entire property?           portion you own?
            Okeechobee, FL 34972                                ✔ Land
                                                                ❑                                                               $4,750.00                 $3,562.50
         City                         State        ZIP Code     ❑ Investment property
                                                                ❑ Timeshare                                       Describe the nature of your ownership interest (such
                                                                                                                  as fee simple, tenancy by the entireties, or a life
            Okeechobee
         County
                                                                ❑ Other                                           estate), if known.
                                                                Who has an interest in the property? Check one.
                                                                                                                  Defeasible Fee Simple Estate, subject to
                                                                ❑ Debtor 1 only                                   inchoate interests of heirs of Alan Fleishman
                                                                ❑ Debtor 2 only
                                                                ❑ Debtor 1 and Debtor 2 only
                                                                ✔ At least one of the debtors and another
                                                                ❑                                                 ❑ Check if this is community property
                                                                                                                     (see instructions)


   1.4      Vacant Land 310th St. +/- 1.25 Acre                 What is the property? Check all that apply.        Do not deduct secured claims or exemptions. Put the
         Street address, if available, or other
         description                                            ❑ Single-family home                               amount of any secured claims on Schedule D:
                                                                ❑ Duplex or multi-unit building                    Creditors Who Have Claims Secured by Property.
            17870 NW 310th Street                               ❑ Condominium or cooperative                      Current value of the       Current value of the
                                                                ❑ Manufactured or mobile home                     entire property?           portion you own?
            Okeechobee, FL 34972                                ✔ Land
                                                                ❑                                                               $4,250.00                 $2,125.00
         City                         State        ZIP Code     ❑ Investment property
                                                                ❑ Timeshare                                       Describe the nature of your ownership interest (such
                                                                                                                  as fee simple, tenancy by the entireties, or a life
            Okeechobee
         County
                                                                ❑ Other                                           estate), if known.
                                                                Who has an interest in the property? Check one.
                                                                                                                  Defeasible Fee Simple Estate, subject to
                                                                ❑ Debtor 1 only                                   inchoate interests of heirs of Alan Fleishman
                                                                ❑ Debtor 2 only
                                                                ❑ Debtor 1 and Debtor 2 only
                                                                ✔ At least one of the debtors and another
                                                                ❑                                                 ❑ Check if this is community property
                                                                                                                     (see instructions)




Official Form 106A/B                                                                 Schedule A/B: Property                                               page 2
 Debtor 1                   Kevin
                                                CaseChristopher
                                                     17-25508-EPKGleason
                                                                      Doc 11                                           Filed 01/08/18                      Page    3 of 57
                                                                                                                                                            Case number (if known) 17-25508
                            First Name                    Middle Name                      Last Name



      1.5     Vacant land, Citrus County                                      What is the property? Check all that apply.                                  Do not deduct secured claims or exemptions. Put the
              Street address, if available, or other
              description                                                    ❑ Single-family home                                                          amount of any secured claims on Schedule D:
                                                                             ❑ Duplex or multi-unit building                                               Creditors Who Have Claims Secured by Property.
              3596 S Avens Way                                               ❑ Condominium or cooperative                                                Current value of the        Current value of the
                                                                             ❑ Manufactured or mobile home                                               entire property?            portion you own?
               Homossasa, FL                                                 ✔ Land
                                                                             ❑                                                                                           $620.00                    $310.00
              City                               State        ZIP Code       ❑ Investment property
                                                                             ❑ Timeshare                                                                 Describe the nature of your ownership interest (such
                                                                                                                                                         as fee simple, tenancy by the entireties, or a life
               Citrus
              County
                                                                             ❑ Other                                                                     estate), if known.
                                                                              Who has an interest in the property? Check one.
                                                                                                                                                          Defeasible Fee Simple Estate, subject to
                                                                             ❑ Debtor 1 only                                                              inchoate interests of heirs of Alan Fleishman
                                                                             ❑ Debtor 2 only
                                                                             ❑ Debtor 1 and Debtor 2 only
                                                                             ✔ At least one of the debtors and another
                                                                             ❑                                                                            ❑ Check if this is community property
                                                                                                                                                              (see instructions)


 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
    you have attached for Part 1. Write that number here.........................................................................................................                  ➜            $478,747.50




Official Form 106A/B                                                                                    Schedule A/B: Property                                                                    page 3
 Debtor 1              Kevin
                                     CaseChristopher
                                          17-25508-EPKGleason
                                                           Doc 11                           Filed 01/08/18         Page    4 of 57
                                                                                                                    Case number (if known) 17-25508
                       First Name              Middle Name              Last Name




 Part 2: Describe Your Vehicles



 Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
 you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

 3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles
     ❑ No
     ✔ Yes
     ❑
     3.1 Make:                          Toyota               Who has an interest in the property? Check one.       Do not deduct secured claims or exemptions. Put the
                                        Prius
                                                             ✔ Debtor 1 only
                                                             ❑                                                     amount of any secured claims on Schedule D:
            Model:
                                                             ❑ Debtor 2 only                                       Creditors Who Have Claims Secured by Property.
                                        2015                 ❑ Debtor 1 and Debtor 2 only                         Current value of the       Current value of the
                                                             ❑ At least one of the debtors and another
            Year:
                                        38000                                                                     entire property?           portion you own?
            Approximate mileage:                                                                                               $12,000.00                $12,000.00
            Other information:                               ❑Check if this is community property (see
                                                                instructions)
            VIN:JTDKN3DU8F1987829. Business
            Vehicle - Usually at 4121 N 31st Avenue




    If you own or have more than one, list here:

     3.2 Make:                          Ford                 Who has an interest in the property? Check one.       Do not deduct secured claims or exemptions. Put the
                                        E-150
                                                             ✔ Debtor 1 only
                                                             ❑                                                     amount of any secured claims on Schedule D:
            Model:
                                                             ❑ Debtor 2 only                                       Creditors Who Have Claims Secured by Property.
                                        1997                 ❑ Debtor 1 and Debtor 2 only                         Current value of the       Current value of the
                                                             ❑ At least one of the debtors and another
            Year:
                                        210000                                                                    entire property?           portion you own?
            Approximate mileage:                                                                                                  $500.00                   $500.00
            Other information:                               ❑Check if this is community property (see
                                                                instructions)
            VIN:1FDEE14L1VHB51192. Personal
            vehicle. Poor Condition




     3.3 Make:                          Honda                Who has an interest in the property? Check one.       Do not deduct secured claims or exemptions. Put the
                                        Rebel 450
                                                             ✔ Debtor 1 only
                                                             ❑                                                     amount of any secured claims on Schedule D:
            Model:
                                                             ❑ Debtor 2 only                                       Creditors Who Have Claims Secured by Property.
                                        1986                 ❑ Debtor 1 and Debtor 2 only                         Current value of the       Current value of the
                                                             ❑ At least one of the debtors and another
            Year:
                                        16093                                                                     entire property?           portion you own?
            Approximate mileage:                                                                                                  $100.00                   $100.00
            Other information:                               ❑Check if this is community property (see
                                                                instructions)
            VIN:JH2PC1708GM005300. Not running -
            Stored at 4121 N 31st Avenue




Official Form 106A/B                                                             Schedule A/B: Property                                                   page 4
 Debtor 1               Kevin
                                        CaseChristopher
                                             17-25508-EPKGleason
                                                              Doc 11                         Filed 01/08/18         Page    5 of 57
                                                                                                                     Case number (if known) 17-25508
                        First Name               Middle Name              Last Name



       3.4 Make:                           Honda               Who has an interest in the property? Check one.      Do not deduct secured claims or exemptions. Put the
                                           Rebel 450
                                                               ✔ Debtor 1 only
                                                               ❑                                                    amount of any secured claims on Schedule D:
            Model:
                                                               ❑ Debtor 2 only                                      Creditors Who Have Claims Secured by Property.
                                          1987                 ❑ Debtor 1 and Debtor 2 only                        Current value of the       Current value of the
                                                               ❑ At least one of the debtors and another
            Year:
                                          6155                                                                     entire property?           portion you own?
            Approximate mileage:                                                                                                   $100.00                   $100.00
            Other information:                                 ❑Check if this is community property (see
                                                                  instructions)
            VIN:JH2PC1701HM103490. Project bike -
            not running - stored at 4121 N 31st Avenue




       3.5 Make:                           Suzuki              Who has an interest in the property? Check one.      Do not deduct secured claims or exemptions. Put the
                                           DR200SE
                                                               ✔ Debtor 1 only
                                                               ❑                                                    amount of any secured claims on Schedule D:
            Model:
                                                               ❑ Debtor 2 only                                      Creditors Who Have Claims Secured by Property.
                                          2006                 ❑ Debtor 1 and Debtor 2 only                        Current value of the       Current value of the
                                                               ❑ At least one of the debtors and another
            Year:
                                          4021                                                                     entire property?           portion you own?
            Approximate mileage:                                                                                                   $100.00                   $100.00
            Other information:                                 ❑Check if this is community property (see
                                                                  instructions)
            VIN:JS1SH42A862101308. Not running -
            Stored at 4121 N 31st Avenue




 4.      Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
         Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
         ❑ No
         ✔ Yes
         ❑


       4.10 Make:                              Canoe           Who has an interest in the property? Check one.      Do not deduct secured claims or exemptions. Put the
                                                  NA           ❑ Debtor 1 only                                      amount of any secured claims on Schedule D:
            Model:
                                                               ❑ Debtor 2 only                                      Creditors Who Have Claims Secured by Property.
                                               2015            ❑ Debtor 1 and Debtor 2 only
            Year:
                                                               ✔ At least one of the debtors and another
                                                               ❑
                                                                                                                   Current value of the
                                                                                                                   entire property?
                                                                                                                                              Current value of the
                                                                                                                                              portion you own?
            Other information:                                                                                                     $150.00                    $75.00
            Plastic, in Jupiter                                ❑Check if this is community property (see
                                                                  instructions)




      If you own or have more than one, list here:


       4.11 Make:                           Homemade           Who has an interest in the property? Check one.      Do not deduct secured claims or exemptions. Put the
                                             Watercraft        ❑ Debtor 1 only                                      amount of any secured claims on Schedule D:
            Model:
                                              trailier         ❑ Debtor 2 only                                      Creditors Who Have Claims Secured by Property.
                                                               ❑ Debtor 1 and Debtor 2 only
            Year:                              2017            ✔ At least one of the debtors and another
                                                               ❑
                                                                                                                   Current value of the
                                                                                                                   entire property?
                                                                                                                                              Current value of the
                                                                                                                                              portion you own?
            Other information:                                                                                                     $100.00                    $50.00
            not yet titled or registered. In Jupiter
                                                               ❑Check if this is community property (see
                                                                  instructions)




Official Form 106A/B                                                               Schedule A/B: Property                                                  page 5
 Debtor 1                   Kevin
                                                CaseChristopher
                                                     17-25508-EPKGleason
                                                                      Doc 11                                           Filed 01/08/18                      Page    6 of 57
                                                                                                                                                            Case number (if known) 17-25508
                            First Name                    Middle Name                      Last Name




      4.6 Make:                                        American             Who has an interest in the property? Check one.                                Do not deduct secured claims or exemptions. Put the
                                                        Hauler              ✔ Debtor 1 only
                                                                            ❑                                                                              amount of any secured claims on Schedule D:
            Model:
                                                    Cargo Trailer           ❑ Debtor 2 only                                                                Creditors Who Have Claims Secured by Property.
                                                                            ❑ Debtor 1 and Debtor 2 only                                                 Current value of the          Current value of the
                                                                            ❑ At least one of the debtors and another
            Year:                                        2007
                                                                                                                                                         entire property?              portion you own?
            Other information:                                                                                                                                           $100.00                      $100.00
              Used for storage at 4121 N 31st Avenue -
                                                                            ❑Check if this is community property (see
                                                                                 instructions)
              rough condition




      4.7 Make:                                       Snowbear              Who has an interest in the property? Check one.                                Do not deduct secured claims or exemptions. Put the
                                                        450LHD              ❑ Debtor 1 only                                                                amount of any secured claims on Schedule D:
            Model:
                                                                            ❑ Debtor 2 only                                                                Creditors Who Have Claims Secured by Property.
                                                         2004               ❑ Debtor 1 and Debtor 2 only
            Year:
                                                                            ✔ At least one of the debtors and another
                                                                            ❑
                                                                                                                                                         Current value of the
                                                                                                                                                         entire property?
                                                                                                                                                                                       Current value of the
                                                                                                                                                                                       portion you own?
            Other information:                                                                                                                                           $100.00                       $50.00
              Rough condition - stored at 1312 Po k                         ❑Check if this is community property (see
              Street                                                             instructions)




      4.8 Make:                                           Kayak             Who has an interest in the property? Check one.                                Do not deduct secured claims or exemptions. Put the
                                                         Plastic
                                                                            ✔ Debtor 1 only
                                                                            ❑                                                                              amount of any secured claims on Schedule D:
            Model:
                                                                            ❑ Debtor 2 only                                                                Creditors Who Have Claims Secured by Property.
                                                         2014               ❑ Debtor 1 and Debtor 2 only                                                 Current value of the          Current value of the
                                                                            ❑ At least one of the debtors and another
            Year:
                                                                                                                                                         entire property?              portion you own?
            Other information:                                                                                                                                           $100.00                      $100.00
              New Price in 2014 $199.00 - stored in                         ❑Check if this is community property (see
              Jupiter                                                            instructions)




      4.9 Make:                                         Chinese             Who has an interest in the property? Check one.                                Do not deduct secured claims or exemptions. Put the
                                                           ATV
                                                                            ✔ Debtor 1 only
                                                                            ❑                                                                              amount of any secured claims on Schedule D:
            Model:
                                                                            ❑ Debtor 2 only                                                                Creditors Who Have Claims Secured by Property.
                                                         2004               ❑ Debtor 1 and Debtor 2 only                                                 Current value of the          Current value of the
                                                                            ❑ At least one of the debtors and another
            Year:
                                                                                                                                                         entire property?              portion you own?
            Other information:                                                                                                                                            $50.00                       $50.00
              2-wheel drive, all terrain vehicle, not                       ❑Check if this is community property (see
              running, poor conditionored at 1312 Po k                           instructions)
              Street




 5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
    you have attached for Part 2. Write that number here.........................................................................................................                  ➜             $13,225.00




 Part 3: Describe Your Personal and Household Items




Official Form 106A/B                                                                                    Schedule A/B: Property                                                                    page 6
 Debtor 1              Kevin
                                       CaseChristopher
                                            17-25508-EPKGleason
                                                             Doc 11                           Filed 01/08/18              Page    7 of 57
                                                                                                                           Case number (if known) 17-25508
                       First Name             Middle Name               Last Name



  Do you own or have any legal or equitable interest in any of the following items?                                                               Current value of the
                                                                                                                                                  portion you own?
                                                                                                                                                  Do not deduct secured
                                                                                                                                                  claims or exemptions.

 6.    Household goods and furnishings
       Examples:    Major appliances, furniture, linens, china, kitchenware

       ❑ No
       ✔ Yes. Describe........
       ❑
                                      See Attached.
                                                                                                                                                               $3,250.00


 7. Electronics
       Examples:    Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections;
                    electronic devices including cell phones, cameras, media players, games

       ❑ No
       ✔ Yes. Describe........
       ❑
                                      See Attached.                                                                                                              $200.00



 8.    Collectibles of value
       Examples:    Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
                    stamp, coin, or baseball card collections; other collections, memorabilia, collectibles

       ❑ No
       ✔ Yes. Describe........
       ❑
                                      See Attached.                                                                                                            $1,520.00



 9. Equipment for sports and hobbies
       Examples:    Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks;
                    carpentry tools; musical instruments

       ❑ No
       ✔ Yes. Describe........
       ❑
                                      See Attached.                                                                                                              $236.00



 10.    Firearms
        Examples:    Pistols, rifles, shotguns, ammunition, and related equipment

        ❑ No
        ✔ Yes. Describe........
        ❑
                                      personal firearms, inventory to be provided to trustee and interested parties upon request                               $2,000.00



 11.    Clothes
        Examples:    Everyday clothes, furs, leather coats, designer wear, shoes, accessories

        ❑ No
        ✔ Yes. Describe........
        ❑
                                      personal clothing of value to debtor only, nominal value assigned some located at 4121 N 31st Avenue,
                                      some located in Jupiter
                                                                                                                                                                   $1.00



 12.    Jewelry
        Examples:    Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver

        ❑ No
        ✔ Yes. Describe........
        ❑
                                      Gold wedding band, titanium wedding band, diver's watch, misc costume jewelry including cuff links, tie
                                      bars, belt buckles, bolo ties some located at 4121 N 31st Avenue, some located in Jupiter                                  $500.00




 13.    Non-farm animals
        Examples:    Dogs, cats, birds, horses

        ❑ No
        ✔ Yes. Describe........
        ❑
                                      Security dog for office - Zippy                                                                                              $1.00



Official Form 106A/B                                                              Schedule A/B: Property                                                      page 7
 Debtor 1                     Kevin
                                                      CaseChristopher
                                                           17-25508-EPKGleason
                                                                            Doc 11                                                       Filed 01/08/18                       Page    8 of 57
                                                                                                                                                                               Case number (if known) 17-25508
                              First Name                         Middle Name                             Last Name



 14.   Any other personal and household items you did not already list, including any health aids you did not list

       ❑ No
       ✔ Yes. Describe........
       ❑
                                                     See Attached.
                                                                                                                                                                                                                   $1,027.00



 15.   Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
       for Part 3. Write that number here........................................................................................................................................➜                                $8,735.00




 Part 4: Describe Your Financial Assets

  Do you own or have any legal or equitable interest in any of the following?                                                                                                                         Current value of the
                                                                                                                                                                                                      portion you own?
                                                                                                                                                                                                      Do not deduct secured
                                                                                                                                                                                                      claims or exemptions.


 16.   Cash
       Examples:           Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
       ❑ No
       ✔ Yes.............................................................................................................................................................
       ❑                                                                                                                                                                    Cash..............
                                                                                                                                                                                                                     $123.00



 17.   Deposits of money
       Examples:           Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other
                           similar institutions. If you have multiple accounts with the same institution, list each.

       ❑ No
       ✔ Yes..................
       ❑
                                                                                                         Institution name:



                                                17.1. Checking account:                                   Chase                                                                                                      $76.81


                                                17.2. Checking account:


                                                17.3. Savings account:                                    Chase - XXXX2090 Homestead Account                                                                     $240,001.93


                                                17.4. Savings account:


                                                17.5. Certificates of deposit:


                                                17.6. Other financial account:                            Pay Pal                                                                                                      $0.00


                                                17.7. Other financial account:


                                                17.8. Other financial account:


                                                17.9. Other financial account:




Official Form 106A/B                                                                                                    Schedule A/B: Property                                                                    page 8
 Debtor 1                 Kevin
                                           CaseChristopher
                                                17-25508-EPKGleason
                                                                 Doc 11                           Filed 01/08/18         Page    9 of 57
                                                                                                                          Case number (if known) 17-25508
                          First Name              Middle Name                 Last Name



 18.   Bonds, mutual funds, or publicly traded stocks
       Examples:        Bond funds, investment accounts with brokerage firms, money market accounts

       ❑ No
       ✔ Yes..................
       ❑
                                       Institution or issuer name:


                                       "Penny" stocks, most worthless. List available on request.                                                           unknown

 19.   Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
       an LLC, partnership, and joint venture

       ❑ No
       ✔ Yes. Give specific
       ❑
            information about
            them...................

                                       Name of entity:                                                                     % of ownership:


                                       Kevin Gleason, PA., a Florida professional services corporation                    100                %              unknown


                                       Florida Bankruptcy Group, LLC., a Florida limited liability company,               1                  %              unknown
                                       owned 99% by Patricia E Gleason P.A., and 1% by Kevin C. Gleason and
                                       Patricia E Gleason as tenants-by-entireties


 20.   Government and corporate bonds and other negotiable and non-negotiable instruments
       Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
       Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
       ✔ No
       ❑
       ❑ Yes. Give specific
            information about
            them...................

 21.   Retirement or pension accounts
       Examples:        Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

       ❑ No
       ✔ Yes. List each account
       ❑
            separately.
                                       Type of account:              Institution name:

                                       401(k) or similar plan:       Paychex 401 (k) Profit Sharing Plan and Trust                                          $21,929.95


                                       IRA:                          American Funds last 4 digits of acct # X3431                                           $13,630.85


                                       IRA:                          Scottrade. Last 4 digits of acct # 7703                                                $10,281.65

 22.   Security deposits and prepayments
       Your share of all unused deposits you have made so that you may continue service or use from a company
       Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or
       others
       ✔ No
       ❑
       ❑ Yes.....................
 23.   Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

       ✔ No
       ❑
       ❑ Yes.....................



Official Form 106A/B                                                                     Schedule A/B: Property                                             page 9
 Debtor 1                 Kevin
                                       CaseChristopher
                                            17-25508-EPKGleason
                                                            Doc 11                           Filed 01/08/18             Page   10 of 57
                                                                                                                         Case number (if known) 17-25508
                          First Name            Middle Name              Last Name



 24.   Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
       26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
       ✔ No
       ❑
       ❑ Yes.....................
 25.   Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your
       benefit

       ✔ No
       ❑
       ❑ Yes. Give specific
            information about them....


 26.   Patents, copyrights, trademarks, trade secrets, and other intellectual property
       Examples:       Internet domain names, websites, proceeds from royalties and licensing agreements

       ❑ No
       ✔ Yes. Give specific
       ❑                                    Copyrights on photos, songs and poems
            information about them....                                                                                                                      unknown


 27.   Licenses, franchises, and other general intangibles
       Examples:       Building permits, exclusive licenses, cooperative association holdings, liquor licenses,
                       professional licenses

       ❑ No
       ✔ Yes. Give specific
       ❑                                    See Attached.                                                                                                   unknown
            information about them....


 28.   Tax refunds owed to you

       ✔ No
       ❑
       ❑ Yes. Give specific information about                                                                                Federal:
                   them, including whether you
                   already filed the returns and the                                                                         State:
                   tax years.......................
                                                                                                                             Local:



 29.   Family support
       Examples:       Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

       ✔ No
       ❑
       ❑ Yes. Give specific information..........                                                                            Alimony:

                                                                                                                             Maintenance:

                                                                                                                             Support:

                                                                                                                             Divorce settlement:

                                                                                                                             Property settlement:


 30.   Other amounts someone owes you
       Examples:       Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social
                       Security benefits; unpaid loans you made to someone else
       ✔ No
       ❑
       ❑ Yes. Give specific information..........




Official Form 106A/B                                                              Schedule A/B: Property                                                   page 10
 Debtor 1                   Kevin
                                               CaseChristopher
                                                    17-25508-EPKGleason
                                                                    Doc 11                                               Filed 01/08/18                       Page   11 of 57
                                                                                                                                                               Case number (if known) 17-25508
                           First Name                      Middle Name                       Last Name



 31.   Interests in insurance policies
       Examples:         Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance

       ❑ No
       ✔ Yes. Name the insurance company
       ❑
                    of each policy and list its value....

                                                                         Company name:                                                    Beneficiary:                                Surrender or refund value:


                                                                          Premises Liability Insurance                                                                                              unknown
                                                                          Title Insurance 4121 N 31st Ave, 1312
                                                                          Polk St.
                                                                          Automobile Insurance
                                                                          Term Life Insurance
                                                                          no value


 32.   Any interest in property that is due you from someone who has died
       If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property
       because someone has died.
       ✔ No
       ❑
       ❑ Yes. Give specific information..........



 33.   Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
       Examples:         Accidents, employment disputes, insurance claims, or rights to sue

       ❑ No
       ✔ Yes. Descr be each claim................
       ❑                                                               Claim against heirs of Alan Fleishman for pro rata share of past and future costs related
                                                                                                                                                                                                    unknown
                                                                       to Okeechobee Properties and Homossasa Property; Claim Against Julia Ramirez for
                                                                       utilities due in pre-closing occupancy.



 34.   Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
       to set off claims

       ❑ No
       ✔ Yes. Descr be each claim................
       ❑                                                               Claim against neighbor on the east side of 1312 Po k Street for maintaining an illegal
                                                                       structure on the wall of 1312 Po k Street. Owners are Caucci, Robert; Salvi, Lucy of the                                     unknown
                                                                       property known as 222 N 13 Avenue, Hollywood, their mailing address is 8257 Giguere
                                                                       *Lasalle QC CA H8N 2B8



 35.   Any financial assets you did not already list

       ✔ No
       ❑
       ❑ Yes. Give specific information..........


 36.   Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
       for Part 4. Write that number here..................................................................................................................................➜                      $286,044.19



 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

 37.   Do you own or have any legal or equitable interest in any business-related property?
       ✔No. Go to Part 6.
       ❑
       ❑Yes. Go to line 38.



Official Form 106A/B                                                                                       Schedule A/B: Property                                                                  page 11
 Debtor 1                Kevin
                                        CaseChristopher
                                             17-25508-EPKGleason
                                                             Doc 11                      Filed 01/08/18             Page   12 of 57
                                                                                                                     Case number (if known) 17-25508
                         First Name              Middle Name          Last Name



 38.   Accounts receivable or commissions you already earned

       ❑ No
       ❑ Yes. Describe........

 39.   Office equipment, furnishings, and supplies
       Examples:      Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices

       ❑ No
       ❑ Yes. Describe........

 40.   Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

       ❑ No
       ❑ Yes. Describe........

 41.   Inventory

       ❑ No
       ❑ Yes. Describe........

 42.   Interests in partnerships or joint ventures

       ❑ No
       ❑ Yes. Describe........

                                      Name of entity:                                                                 % of ownership:

                                                                                                                                        %


                                                                                                                                        %


                                                                                                                                        %


 43.   Customer lists, mailing lists, or other compilations
       ❑ No
       ❑ Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
               ❑ No
               ❑ Yes. Describe........

 44.   Any business-related property you did not already list

       ❑ No
       ❑ Yes. Give specific
            information.........




Official Form 106A/B                                                           Schedule A/B: Property                                                      page 12
 Debtor 1                   Kevin
                                               CaseChristopher
                                                    17-25508-EPKGleason
                                                                    Doc 11                                               Filed 01/08/18                       Page   13 of 57
                                                                                                                                                               Case number (if known) 17-25508
                           First Name                      Middle Name                       Last Name




 45.   Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
       for Part 5. Write that number here.................................................................................................................................➜



 Part 6: Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
         If you own or have an interest in farmland, list it in Part 1.

 46.   Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
       ✔No. Go to Part 7.
       ❑
       ❑Yes. Go to line 47.
 47.   Farm animals
       Examples:         Livestock, poultry, farm-raised fish
       ❑ No
       ❑ Yes.........................

 48.   Crops—either growing or harvested

       ❑ No
       ❑ Yes. Give specific
            information.............


 49.   Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

       ❑ No
       ❑ Yes..........................


 50.   Farm and fishing supplies, chemicals, and feed

       ❑ No
       ❑ Yes..........................


 51.   Any farm- and commercial fishing-related property you did not already list

       ❑ No
       ❑ Yes. Give specific
            information.............



 52.   Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
       for Part 6. Write that number here...................................................................................................................................➜



 Part 7: Describe All Property You Own or Have an Interest in That You Did Not List Above




Official Form 106A/B                                                                                       Schedule A/B: Property                                                                page 13
 Debtor 1                    Kevin
                                                 CaseChristopher
                                                      17-25508-EPKGleason
                                                                      Doc 11                                                  Filed 01/08/18                          Page   14 of 57
                                                                                                                                                                       Case number (if known) 17-25508
                            First Name                       Middle Name                          Last Name



 53.   Do you have other property of any kind you did not already list?
       Examples:          Season tickets, country club membership

       ❑ No
       ✔ Yes. Give specific
       ❑                                          Garden plants at 4121 N 31st Avenue., pumpkins, peas, banana ( 2 varieties), plantains, tomatoes, key
                                                                                                                                                                                                           unknown

            information.............              limes, etc., no value




 54.   Add the dollar value of all of your entries from Part 7. Write that number here.....................................................➜                                                                   $0.00



 Part 8: List the Totals of Each Part of this Form

 55.   Part 1: Total real estate, line 2..........................................................................................................................................➜                      $478,747.50


 56.   Part 2: Total vehicles, line 5                                                                                        $13,225.00


 57.   Part 3: Total personal and household items, line 15                                                                     $8,735.00


 58.   Part 4: Total financial assets, line 36                                                                             $286,044.19


 59.   Part 5: Total business-related property, line 45                                                                              $0.00


 60.   Part 6: Total farm- and fishing-related property, line 52                                                                     $0.00


 61.   Part 7: Total other property not listed, line 54                                                +                             $0.00


 62.   Total personal property. Add lines 56 through 61..............                                                      $308,004.19              Copy personal property total➜        +           $308,004.19




 63.   Total of all property on Schedule A/B. Add line 55 + line 62.................................................................................................                                     $786,751.69




Official Form 106A/B                                                                                            Schedule A/B: Property                                                                    page 14
                                    Case 17-25508-EPK                Doc 11        Filed 01/08/18            Page 15 of 57
 Debtor 1              Kevin             Christopher            Gleason                                            Case number (if known) 17-25508
                       First Name        Middle Name             Last Name



                                                       SCHEDULE A/B: PROPERTY
                                                                    Continuation Page

 6.   Household goods and furnishings
      Oven, Stove, Microwave, Dishwasher                                                                                                              $200.00
      sofa, end tables, coffee table, lamps, dining room table & 6 chairs, storage chests, armoires, night stands, beds,                             $3,000.00
      outdoor furniture, china & flatware, small appliances and kitchen items. Mostly in Jupiter
      washer and dryer - Jupiter                                                                                                                       $50.00
      Over-under washer-dryer combination appliance from Sears, paid for, not delivered, value unknown, transaction                                  unknown
      estimated to be in 2004

 7.   Electronics
      2 point and shoot cameras, old mp3 players, 2 am/fm radios, turntable for converting vinyl to digital all at 4121 N                             $100.00
      31st Avenue
      Portable Lenovo "7" Android Tablet                                                                                                               $20.00
      Kindle Fire and books thereon                                                                                                                    $20.00
      Flat panel television located in Jupiter - at least 10 years old)$50.00, DVD/Blue Ray player $10.00                                              $60.00

 8.   Collectibles of value
      Oils, water colors, prints; figurines, vases, statues, family photos- some items at 4121 N 31st Avenue, most items                             $1,500.00
      in Jupiter
      Hawaiian Vase located at 4121 N 31st Avenue                                                                                                      $20.00

 9.   Equipment for sports and hobbies
      Well used camping equipment, hunting equipment, knives and tools some located at 4121 N 31st Avenue, some                                       $100.00
      located in Jupiter
      2 bicycles 1 in Jupiter and 1 located at 4121 n 31st Avenue                                                                                     $100.00
      1979 - 80 Japanese Epiphone guitar $25.00 Recorder and Penny Whistle $1.00                                                                       $26.00
      Motorcycle transport rack                                                                                                                        $10.00

 14. Any other personal and household items you did not already list, including any health aids you did not list
      Misc prescription medications, prescription glasses, inversion chair, roman chair                                                                 $1.00
      Miscellaneous Holiday decorations $100.00, misc (mostly reclaimed) building materials with little or no value.                                  $500.00
      some items at 1312 Polk, some located in Jupiter
      Vinyl records - Mrs. Gleasons are mixed in located in Jupiter                                                                                    $25.00
      Consumables, food, wine, spices, canned goods and dry goods                                                                                       $1.00
      Collection of Cross Pens                                                                                                                        $500.00

 27. Licenses, franchises, and other general intangibles
      Real Estate Sales License                                                                                                                      unknown
      Concealed weapons permit- State of Florida                                                                                                     unknown
      Florida drivers license                                                                                                                        unknown




Official Form 106A/B                                                      Schedule A/B: Property
                                       Case 17-25508-EPK                      Doc 11          Filed 01/08/18                 Page 16 of 57
 Fill in this information to identify your case:

  Debtor 1               Kevin                 Christopher          Gleason
                         First Name            Middle Name          Last Name

  Debtor 2               First Name            Middle Name          Last Name
  (Spouse, if filing)

  United States Bankruptcy Court for the:                         Southern District of Florida

  Case number           17-25508                                                                                                            ❑Check if this is an
  (if known)                                                                                                                                   amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                             04/16
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using the
property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is needed, fill out and
attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a specific dollar amount as
exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of any applicable statutory limit. Some
exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement funds—may be unlimited in dollar amount. However, if you
claim an exemption of 100% of fair market value under a law that limits the exemption to a particular dollar amount and the value of the property is determined to
exceed that amount, your exemption would be limited to the applicable statutory amount.


 Part 1: Identify the Property You Claim as Exempt


 1.    Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
       ✔ You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
       ❑
       ❑ You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)
 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

      Brief description of the property and line on        Current value of the         Amount of the exemption you claim           Specific laws that allow exemption
      Schedule A/B that lists this property                portion you own
                                                           Copy the value from          Check only one box for each exemption.
                                                           Schedule A/B

                           Three Contiguous Lots
      Brief                1312 Polk St Hollywood,               $315,440.00         ❑                                               11 U.S.C. § 522(b)(3)(B)
      description:         FL 33019-1037                                             ✔
                                                                                     ❑      100% of fair market value, up to any
                                                                                            applicable statutory limit
      Line from
      Schedule A/B:        1.2


                                                                                     ✔
                           1997 Ford E-150
                           VIN:                                      $500.00         ❑                    $500.00                    Fla. Stat. Ann. § 222.25(1)
                           1FDEE14L1VHB51192                                         ❑      100% of fair market value, up to any
                           VIN:1FDEE14L1VHB51192.                                           applicable statutory limit
      Brief                Personal vehicle. Poor
      description:         Condition

      Line from
      Schedule A/B:        3.2

 3. Are you claiming a homestead exemption of more than $160,375?
        Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)
           No
        X Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
           ❑ No
           ❑
           X Yes




Official Form 106C                                                Schedule C: The Property You Claim as Exempt                                                     page 1 of 1
 Debtor 1            Kevin
                                   CaseChristopher
                                        17-25508-EPKGleason
                                                        Doc 11                     Filed 01/08/18             Page   17 of 57
                                                                                                               Case number (if known) 17-25508
                     First Name              Middle Name          Last Name


 Part 2: Additional Page
     Brief description of the property and line on     Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property             portion you own
                                                       Copy the value from    Check only one box for each exemption.
                                                       Schedule A/B
    Brief              2015 Canoe NA
    description:       VIN: NA Plastic, in Jupiter              $75.00        ❑                                           11 U.S.C. § 522(b)(3)(B)
                                                                              ✔
                                                                              ❑   100% of fair market value, up to any
    Line from                                                                     applicable statutory limit
    Schedule A/B:      4.10



                       2017 Homemade
                       Watercraft trailier                      $50.00        ❑                                           11 U.S.C. § 522(b)(3)(B)
    Brief              VIN: None not yet titled or                            ✔
                                                                              ❑   100% of fair market value, up to any
    description:       registered. In Jupiter                                     applicable statutory limit

    Line from
    Schedule A/B:      4.11


                       2004 Snowbear 450LHD
    Brief              VIN: NA Rough condition -                $50.00        ❑                                           11 U.S.C. § 522(b)(3)(B)
    description:       stored at 1312 Polk Street                             ✔
                                                                              ❑   100% of fair market value, up to any
                                                                                  applicable statutory limit
    Line from
    Schedule A/B:      4.7



    Brief              Oven, Stove, Microwave,
    description:       Dishwasher                              $200.00        ❑                                           11 U.S.C. § 522(b)(3)(B)
                                                                              ✔
                                                                              ❑   100% of fair market value, up to any
    Line from                                                                     applicable statutory limit
    Schedule A/B:      6



                       sofa, end tables, coffee
                       table, lamps, dining room              $3,000.00       ❑                                           11 U.S.C. § 522(b)(3)(B)
                       table & 6 chairs, storage                              ✔
                                                                              ❑   100% of fair market value, up to any
                       chests, armoires, night                                    applicable statutory limit
                       stands, beds, outdoor
                       furniture, china &
                       flatware, small appliances
    Brief              and kitchen items. Mostly
    description:       in Jupiter

    Line from
    Schedule A/B:      6


    Brief              washer and dryer -
    description:       Jupiter                                  $50.00        ❑                                           11 U.S.C. § 522(b)(3)(B)
                                                                              ✔
                                                                              ❑   100% of fair market value, up to any
    Line from                                                                     applicable statutory limit
    Schedule A/B:      6




                                                                              ✔
                       Over-under washer-dryer
                       combination appliance                   unknown        ❑                unknown                    11 U.S.C. § 522(b)(3)(B)
                       from Sears, paid for, not                              ❑   100% of fair market value, up to any
                       delivered, value unknown,                                  applicable statutory limit
    Brief              transaction estimated to
    description:       be in 2004

    Line from
    Schedule A/B:      6



Official Form 106C                                          Schedule C: The Property You Claim as Exempt                                             Additional Page
 Debtor 1            Kevin
                                   CaseChristopher
                                        17-25508-EPKGleason
                                                        Doc 11                    Filed 01/08/18             Page   18 of 57
                                                                                                              Case number (if known) 17-25508
                     First Name             Middle Name          Last Name


 Part 2: Additional Page
     Brief description of the property and line on    Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property            portion you own
                                                      Copy the value from    Check only one box for each exemption.
                                                      Schedule A/B


                       Flat panel television
                       located in Jupiter - at                 $60.00        ❑                                           11 U.S.C. § 522(b)(3)(B)
                       least 10 years old)$50.00,                            ✔
                                                                             ❑   100% of fair market value, up to any
    Brief              DVD/Blue Ray player                                       applicable statutory limit
    description:       $10.00

    Line from
    Schedule A/B:      7


                       Oils, water colors, prints;
                       figurines, vases, statues,            $1,500.00       ❑                                           11 U.S.C. § 522(b)(3)(B)
                       family photos- some items                             ✔
                                                                             ❑   100% of fair market value, up to any
    Brief              at 4121 N 31st Avenue,                                    applicable statutory limit
    description:       most items in Jupiter

    Line from
    Schedule A/B:      8




                                                                             ✔
                       personal firearms,
                       inventory to be provided to           $2,000.00       ❑               $1,000 00                   Fla. Const. art. X, § 4(a)(2)
    Brief              trustee and interested                                ❑   100% of fair market value, up to any
    description:       parties upon request                                      applicable statutory limit
    Line from
    Schedule A/B:      10



                       Misc prescription
                       medications, prescription                 $1.00       ❑                                           Fla. Stat. Ann. § 222.25(2)
    Brief              glasses, inversion chair,                             ✔
                                                                             ❑   100% of fair market value, up to any
    description:       roman chair                                               applicable statutory limit

    Line from
    Schedule A/B:      14



                       Miscellaneous Holiday
                       decorations $100.00,                   $500.00        ❑                                           11 U.S.C. § 522(b)(3)(B)
                       misc (mostly reclaimed)                               ✔
                                                                             ❑   100% of fair market value, up to any
                       building materials with                                   applicable statutory limit
                       little or no value. some
    Brief              items at 1312 Po k, some
    description:       located in Jupiter

    Line from
    Schedule A/B:      14


                       Chase - XXXX2090
    Brief              Homestead Account                  $240,001.93        ❑                                           Fla. Const. art. X § 4(a)(1); Fla. Stat.
    description:       Savings account                                       ✔
                                                                             ❑   100% of fair market value, up to any    Ann. §§ 222.01, .02
                                                                                 applicable statutory limit
    Line from
    Schedule A/B:      17




Official Form 106C                                         Schedule C: The Property You Claim as Exempt                                                Additional Page
 Debtor 1            Kevin
                                   CaseChristopher
                                        17-25508-EPKGleason
                                                        Doc 11                    Filed 01/08/18             Page   19 of 57
                                                                                                              Case number (if known) 17-25508
                     First Name             Middle Name          Last Name


 Part 2: Additional Page
     Brief description of the property and line on    Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property            portion you own
                                                      Copy the value from    Check only one box for each exemption.
                                                      Schedule A/B

                                                                             ✔
                       "Penny" stocks, most
    Brief              worthless. List available              unknown        ❑                unknown                    11 U.S.C. § 522(b)(3)(B)
    description:       on request.                                           ❑   100% of fair market value, up to any
                                                                                 applicable statutory limit
    Line from
    Schedule A/B:      18


                       Florida Bankruptcy
                       Group, LLC., a Florida                 unknown        ❑                                           11 U.S.C. § 522(b)(3)(B)
                       limited liability company,                            ✔
                                                                             ❑   100% of fair market value, up to any
                       owned 99% by Patricia E                                   applicable statutory limit
                       Gleason P.A., and 1% by
                       Kevin C. Gleason and
    Brief              Patricia E Gleason as
    description:       tenants-by-entireties

    Line from
    Schedule A/B:      19


    Brief              Paychex 401 (k) Profit
    description:       Sharing Plan and Trust              $21,929.95        ❑                                           Fla. Stat. Ann. § 222.21(2)
                                                                             ✔
                                                                             ❑   100% of fair market value, up to any
    Line from                                                                    applicable statutory limit
    Schedule A/B:      21



    Brief              American Funds last 4
    description:       digits of acct # X3431              $13,630.85        ❑                                           Fla. Stat. Ann. § 222.21(2)
                                                                             ✔
                                                                             ❑   100% of fair market value, up to any
    Line from                                                                    applicable statutory limit
    Schedule A/B:      21




                                                                             ✔
    Brief              Scottrade. Last 4 digits of
    description:       acct # 7703                         $10,281.65        ❑              $10,281.65                   Fla. Stat. Ann. § 222.21(2)

    Line from
                                                                             ❑   100% of fair market value, up to any
                                                                                 applicable statutory limit
    Schedule A/B:      21




                                                                             ✔
                       Claim against neighbor
                       on the east side of 1312               unknown        ❑                unknown                    11 U.S.C. § 522(b)(3)(B)
                       Polk Street for                                       ❑   100% of fair market value, up to any
                       maintaining an illegal                                    applicable statutory limit
                       structure on the wall of
                       1312 Polk Street. Owners
                       are Caucci, Robert; Salvi,
                       Lucy of the property known
                       as 222 N 13 Avenue,
                       Hollywood, their mailing
                       address is 8257 Giguere
    Brief              *Lasalle QC CA H8N
    description:       2B8

    Line from
    Schedule A/B:      34




Official Form 106C                                         Schedule C: The Property You Claim as Exempt                                                Additional Page
                                       Case 17-25508-EPK                     Doc 11        Filed 01/08/18              Page 20 of 57
 Fill in this information to identify your case:

  Debtor 1               Kevin                 Christopher         Gleason
                         First Name            Middle Name         Last Name

  Debtor 2               First Name            Middle Name         Last Name
  (Spouse, if filing)

  United States Bankruptcy Court for the:                         Southern District of Florida

  Case number           17-25508                                                                                                             ❑Check if this is an
  (if known)                                                                                                                                    amended filing


Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case number (if
known).
1. Do any creditors have claims secured by your property?
   ❑No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
   ✔Yes. Fill in all of the information below.
   ❑
 Part 1: List All Secured Claims

 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately for each     Column A                Column B              Column C
    claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As much as poss ble, Amount of claim         Value of              Unsecured
    list the claims in alphabetical order according to the creditor’s name.                                           Do not deduct the       collateral that       portion
                                                                                                                      value of collateral.    supports this         If any
                                                                                                                                              claim
2.1 Broward County Tax Collector                        Describe the property that secures the claim:                             $3,402.56         $157,310.00            $0.00
     Creditor's Name
                                                         Office Property
      115 S Andrews Avenue A-100                             4121 N 31st Ave Hollywood, FL 33021-2011
     Number             Street
      Ft Lauderdale, FL 33301-1895                      As of the date you file, the claim is: Check all that apply.
     City                          State     ZIP Code   ❑Contigent
     Who owes the debt? Check one.                      ✔ Unlquidated
                                                        ❑
     ✔ Debtor 1 only
     ❑                                                  ❑Disputed
     ❑Debtor 2 only                                     Nature of lien. Check all that apply.
     ❑Debtor 1 and Debtor 2 only                        ✔An agreement you made (such as mortgage or
                                                        ❑
     ❑At least one of the debtors and another                 secured car loan)
     ❑Check if this claim relates to a                  ✔Statutory lien (such as tax lien, mechanic's lien)
                                                        ❑
         community debt
                                                        ❑Judgment lien from a lawsuit
     Date debt was incurred                             ❑Other (including a right to offset)
     Jan 01, 2017
                                                        Last 4 digits of account number 0         7     3   9

      Add the dollar value of your entries in Column A on this page. Write that number here:                                    $3,402.56




Official Form 106D                                       Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 8
 Debtor 1              Kevin
                                       CaseChristopher
                                            17-25508-EPKGleason
                                                            Doc 11                       Filed 01/08/18               Page   21 of 57
                                                                                                                       Case number (if known) 17-25508
                       First Name            Middle Name             Last Name


                                                                                                                      Column A                 Column B              Column C
              Additional Page                                                                                         Amount of claim          Value of              Unsecured
  Part 1:
              After listing any entries on this page, number them beginning                                           Do not deduct the        collateral that       portion
              with 2.3, followed by 2.4, and so forth.                                                                value of collateral.     supports this         If any
                                                                                                                                               claim


 2.2 Citrus County Tax Collector                       Describe the property that secures the claim:                                  $12.35              $310.00              $0 00
     Creditor's Name
                                                         Vacant land, Citrus County
     JANICE A. WARREN C.F.C.                             3596 S Avens Way Homossasa, FL
     210 N Apopka Ave Ste 100
     Number          Street
                                                       As of the date you file, the claim is: Check all that apply.

     Inverness, FL 34450-4298                          ❑Contigent
     City                           State   ZIP Code   ❑Unlquidated
     Who owes the debt? Check one.                     ❑Disputed
     ❑Debtor 1 only                                    Nature of lien. Check all that apply.
     ❑Debtor 2 only                                    ❑An agreement you made (such as mortgage or
     ❑Debtor 1 and Debtor 2 only                           secured car loan)
     ✔At least one of the debtors and another
     ❑                                                 ✔Statutory lien (such as tax lien, mechanic's lien)
                                                       ❑
     ❑Check if this claim relates to a                 ❑Judgment lien from a lawsuit
        community debt
                                                       ❑Other (including a right to offset)
     Date debt was incurred
     Jan 01, 2018                                      Last 4 digits of account number 9         3    4    3



      Remarks: Assumes same amount for 2018 as 2017




 2.3 Deutsche Bank National Trust Company              Describe the property that secures the claim:                            $630,880 00           $315,440.00              $0 00
     Creditor's Name
                                                         Three Contiguous Lots
     c/o Nationstar Mortgage, LLC                        1312 Polk St Hollywood, FL 33019-1037
     PO Box 619096
     Number          Street
                                                       As of the date you file, the claim is: Check all that apply.

     Dallas, TX 75261-9096                             ❑Contigent
     City                           State   ZIP Code   ✔ Unlquidated
                                                       ❑
     Who owes the debt? Check one.                     ✔ Disputed
                                                       ❑
     ✔ Debtor 1 only
     ❑                                                 Nature of lien. Check all that apply.
     ❑Debtor 2 only                                    ✔An agreement you made (such as mortgage or
                                                       ❑
     ❑Debtor 1 and Debtor 2 only                           secured car loan)
     ❑At least one of the debtors and another          ❑Statutory lien (such as tax lien, mechanic's lien)
     ❑Check if this claim relates to a                 ❑Judgment lien from a lawsuit
        community debt
                                                       ❑Other (including a right to offset)
     Date debt was incurred
     Jul 05, 2004                                      Last 4 digits of account number 6         4    5    6



      Remarks: Amount and viability are to be challenged. Non-recourse due to discharge in Chapter 11.




      Add the dollar value of your entries in Column A on this page. Write that number here:                                 $630,892.35




Official Form 106D                            Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 2 of 8
 Debtor 1              Kevin
                                       CaseChristopher
                                            17-25508-EPKGleason
                                                            Doc 11                       Filed 01/08/18               Page   22 of 57
                                                                                                                       Case number (if known) 17-25508
                       First Name            Middle Name             Last Name


                                                                                                                      Column A                Column B              Column C
              Additional Page                                                                                         Amount of claim         Value of              Unsecured
  Part 1:
              After listing any entries on this page, number them beginning                                           Do not deduct the       collateral that       portion
              with 2.3, followed by 2.4, and so forth.                                                                value of collateral.    supports this         If any
                                                                                                                                              claim


 2.4 Deutsche Bank Trust Company Americas              Describe the property that secures the claim:                            $153,970.44          $157,310.00              $63 00
     Creditor's Name
                                                         Office Property
     60 Wall St Fl 37                                    4121 N 31st Ave Hollywood, FL 33021-2011
     Number          Street
     New York, NY 10005-2837                           As of the date you file, the claim is: Check all that apply.
     City                           State   ZIP Code   ❑Contigent
     Who owes the debt? Check one.                     ✔ Unlquidated
                                                       ❑
     ✔ Debtor 1 only
     ❑                                                 ✔ Disputed
                                                       ❑
     ❑Debtor 2 only                                    Nature of lien. Check all that apply.
     ❑Debtor 1 and Debtor 2 only                       ✔An agreement you made (such as mortgage or
                                                       ❑
     ❑At least one of the debtors and another              secured car loan)
     ❑Check if this claim relates to a                 ❑Statutory lien (such as tax lien, mechanic's lien)
        community debt
                                                       ❑Judgment lien from a lawsuit
     Date debt was incurred                            ❑Other (including a right to offset)
     Feb 01, 2006
                                                       Last 4 digits of account number 5         1    5    2


      Remarks: Non-recourse due to discharge in Chapter 11. Viability of the mortgage will be challenged.
      Lien satisfied under confirmed Chapter 11 Plan.



 2.5 Kincaid, James G + Suzanne A                      Describe the property that secures the claim:                            $197,332.60          $240,001.93               $0 00
     Creditor's Name
                                                         Chase - XXXX2090 Homestead Account
     11289 Wedgefield Ct
     Number          Street
     Fishers, IN 46037-8862                            As of the date you file, the claim is: Check all that apply.
     City                           State   ZIP Code   ❑Contigent
     Who owes the debt? Check one.                     ❑Unlquidated
     ✔ Debtor 1 only
     ❑                                                 ❑Disputed
     ❑Debtor 2 only                                    Nature of lien. Check all that apply.
     ❑Debtor 1 and Debtor 2 only                       ✔An agreement you made (such as mortgage or
                                                       ❑
     ❑At least one of the debtors and another              secured car loan)
     ❑Check if this claim relates to a                 ❑Statutory lien (such as tax lien, mechanic's lien)
        community debt
                                                       ❑Judgment lien from a lawsuit
     Date debt was incurred                            ❑Other (including a right to offset)
     Jan 05, 2010
                                                       Last 4 digits of account number 1         4    4    2


      Remarks: Filed UCC-1 in accordance with confirmed Plan, exempt as proceeds of homestead.




      Add the dollar value of your entries in Column A on this page. Write that number here:                                 $351,303.04




Official Form 106D                            Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page 3 of 8
 Debtor 1              Kevin
                                       CaseChristopher
                                            17-25508-EPKGleason
                                                            Doc 11                       Filed 01/08/18               Page   23 of 57
                                                                                                                       Case number (if known) 17-25508
                       First Name            Middle Name             Last Name


                                                                                                                      Column A                Column B              Column C
              Additional Page                                                                                         Amount of claim         Value of              Unsecured
  Part 1:
              After listing any entries on this page, number them beginning                                           Do not deduct the       collateral that       portion
              with 2.3, followed by 2.4, and so forth.                                                                value of collateral.    supports this         If any
                                                                                                                                              claim


 2.6 Okeechobee County Tax Collector                   Describe the property that secures the claim:                                $662.16            $3,562.50              $0 00
     Creditor's Name
                                                         Vacant Land 288th St +/- 1.25 Acre
     307 NW 5th Street Suite B                           16469 NW 288th St Okeechobee, FL 34972
     Number          Street
     Okeechobee, FL 34972                              As of the date you file, the claim is: Check all that apply.
     City                           State   ZIP Code   ❑Contigent
     Who owes the debt? Check one.                     ✔ Unlquidated
                                                       ❑
     ❑Debtor 1 only                                    ✔ Disputed
                                                       ❑
     ❑Debtor 2 only                                    Nature of lien. Check all that apply.
     ❑Debtor 1 and Debtor 2 only                       ❑An agreement you made (such as mortgage or
     ✔At least one of the debtors and another
     ❑                                                     secured car loan)
     ❑Check if this claim relates to a                 ✔Statutory lien (such as tax lien, mechanic's lien)
                                                       ❑
        community debt
                                                       ❑Judgment lien from a lawsuit
     Date debt was incurred                            ❑Other (including a right to offset)
     Jan 01, 2018
                                                       Last 4 digits of account number 6         0    0    0


      Remarks: Parcel No. 1-14-34-33-OAOO-00030-0000, Assumes same amount as 2017, $248.12, plus
      disputed 2010 of 414.04



 2.7 Okeechobee County Tax Collector                   Describe the property that secures the claim:                                $238.49            $2,125.00              $0 00
     Creditor's Name
                                                         Vacant Land 310th St. +/- 1.25 Acre
     307 NW 5th Street Suite B                           17870 NW 310th Street Okeechobee, FL 34972
     Number          Street
     Okeechobee, FL 34972                              As of the date you file, the claim is: Check all that apply.
     City                           State   ZIP Code   ❑Contigent
     Who owes the debt? Check one.                     ❑Unlquidated
     ❑Debtor 1 only                                    ❑Disputed
     ❑Debtor 2 only                                    Nature of lien. Check all that apply.
     ❑Debtor 1 and Debtor 2 only                       ❑An agreement you made (such as mortgage or
     ✔At least one of the debtors and another
     ❑                                                     secured car loan)
     ❑Check if this claim relates to a                 ✔Statutory lien (such as tax lien, mechanic's lien)
                                                       ❑
        community debt
                                                       ❑Judgment lien from a lawsuit
     Date debt was incurred                            ❑Other (including a right to offset)
     Jan 01, 2018
                                                       Last 4 digits of account number 5         7    0    0


      Remarks: Parcel # 1-10-34-33-0A00-00018-J000, amount assumes that 2018 will be the same as 2017




      Add the dollar value of your entries in Column A on this page. Write that number here:                                      $900.65




Official Form 106D                            Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page 4 of 8
 Debtor 1              Kevin
                                       CaseChristopher
                                            17-25508-EPKGleason
                                                            Doc 11                       Filed 01/08/18               Page   24 of 57
                                                                                                                       Case number (if known) 17-25508
                       First Name            Middle Name             Last Name


                                                                                                                      Column A                Column B              Column C
              Additional Page                                                                                         Amount of claim         Value of              Unsecured
  Part 1:
              After listing any entries on this page, number them beginning                                           Do not deduct the       collateral that       portion
              with 2.3, followed by 2.4, and so forth.                                                                value of collateral.    supports this         If any
                                                                                                                                              claim


 2.8 Southeast Toyota Finance                          Describe the property that secures the claim:                             $15,000 00           $12,000.00        $3,000 00
     Creditor's Name
                                                         2015 Toyota Prius
     PO Box 991817                                       VIN:JTDKN3DU8F1987829. Business Vehicle - Usually
     Number          Street                              at 4121 N 31st Avenue
     Mobile, AL 36691-8817                             As of the date you file, the claim is: Check all that apply.
     City                           State   ZIP Code
     Who owes the debt? Check one.
                                                       ❑Contigent
     ❑Debtor 1 only                                    ❑Unlquidated
     ❑Debtor 2 only                                    ❑Disputed
     ❑Debtor 1 and Debtor 2 only                       Nature of lien. Check all that apply.
     ✔At least one of the debtors and another
     ❑                                                 ✔An agreement you made (such as mortgage or
                                                       ❑
     ❑Check if this claim relates to a                     secured car loan)
        community debt                                 ❑Statutory lien (such as tax lien, mechanic's lien)
     Date debt was incurred
                                                       ❑Judgment lien from a lawsuit
     Dec 09, 2015                                      ❑Other (including a right to offset)
                                                       Last 4 digits of account number 1         8    3    2


      Remarks: Paid outside the Plan by employer



      Add the dollar value of your entries in Column A on this page. Write that number here:                                   $15,000.00




Official Form 106D                            Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page 5 of 8
 Debtor 1              Kevin
                                   CaseChristopher
                                        17-25508-EPKGleason
                                                        Doc 11                          Filed 01/08/18             Page   25 of 57
                                                                                                                    Case number (if known) 17-25508
                     First Name             Middle Name             Last Name



 Part 2: List Others to Be Notified for a Debt That You Already Listed

 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is trying
 to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more than one
 creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any debts in Part 1,
 do not fill out or submit this page.

    1                                                                                        On which line in Part 1 did you enter the creditor?     4
        Aldridge Connors, LLP
        Name
                                                                                             Last 4 digits of account number
        1615 S Congress Ave Ste 200
        Number         Street



        Delray Beach, FL 33445-6326
        City                                                State         ZIP Code


    2                                                                                        On which line in Part 1 did you enter the creditor?     3
        Aldridge Pite, LLP
        Name
                                                                                             Last 4 digits of account number
        3575 Piedmont Rd Ne # 500
        Number         Street



        Atlanta, GA 30305-1623
        City                                                State         ZIP Code


    3                                                                                        On which line in Part 1 did you enter the creditor?     3
        Aldridge Pite, LLP
        Name
                                                                                             Last 4 digits of account number
        PO Box 17933
        Number         Street



        San Diego, CA 92177-7921
        City                                                State         ZIP Code


    4                                                                                        On which line in Part 1 did you enter the creditor?     4
        Aldridge Pite, LLP
        Name
                                                                                             Last 4 digits of account number 5       1    5   2
        3575 Piedmont Rd Ne # 500
        Number         Street



        Atlanta, GA 30305-1623
        City                                                State         ZIP Code


    5                                                                                        On which line in Part 1 did you enter the creditor?     4
        Brock & Scott, PLLC
        Name
                                                                                             Last 4 digits of account number 3       9    2   2
        1501 NW 49th St Ste 200
        Number         Street



        Ft Lauderdale, FL 33309-3723
        City                                                State         ZIP Code


    6                                                                                        On which line in Part 1 did you enter the creditor?     3
        Deutsche Bank
        Name
                                                                                             Last 4 digits of account number
        60 Wall St
        Number         Street
        John Cryan, CEO

        New York, NY 10005-2836
        City                                                State         ZIP Code




Official Form 106D                               Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                                      page 6 of 8
 Debtor 1             Kevin
                                   CaseChristopher
                                        17-25508-EPKGleason
                                                        Doc 11                      Filed 01/08/18            Page   26 of 57
                                                                                                               Case number (if known) 17-25508
                      First Name          Middle Name               Last Name



 Part 2: List Others to Be Notified for a Debt That You Already Listed Additional Page
    7                                                                                    On which line in Part 1 did you enter the creditor?   4
        Deutsche Bank
        Name
                                                                                         Last 4 digits of account number
        60 Wall St
        Number        Street
        John Cryan, CEO

        New York, NY 10005-2836
        City                                                State        ZIP Code



    8                                                                                    On which line in Part 1 did you enter the creditor?   3
        Deutsche Bank National Trust Company
        Name
                                                                                         Last 4 digits of account number
        60 Wall St
        Number        Street
        Jane Providente, Director, Deutsche Bank

        New York, NY 10005-2836
        City                                                State        ZIP Code



    9                                                                                    On which line in Part 1 did you enter the creditor?   4
        Deutsche Bank National Trust Company
        Name
                                                                                         Last 4 digits of account number
        1761 East Saint Andrew Place, 2nd Floor
        Number        Street



        Santa Ana, CA 97205-4934
        City                                                State        ZIP Code



  10                                                                                     On which line in Part 1 did you enter the creditor?   4
        Deutsche Bank National Trust Company
        Name
                                                                                         Last 4 digits of account number
        3 Park Plz # 16
        Number        Street



        Irvine, CA 92614-8505
        City                                                State        ZIP Code



   11                                                                                    On which line in Part 1 did you enter the creditor?   4
        Deutsche Bank Trust Company Americas
        Name
                                                                                         Last 4 digits of account number
        60 Wall St Fl 37
        Number        Street
        Residential Accredit Loans, 2006- QS7

        New York, NY 10005-2837
        City                                                State        ZIP Code



  12                                                                                     On which line in Part 1 did you enter the creditor?   4
        Deutsche Bank Trust Company Americas
        Name
                                                                                         Last 4 digits of account number
        60 Wall St Fl 37
        Number        Street
        Legal Department

        New York, NY 10005-2837
        City                                                State        ZIP Code




Official Form 106D                                Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                              page 7 of 8
 Debtor 1               Kevin
                                     CaseChristopher
                                          17-25508-EPKGleason
                                                          Doc 11                       Filed 01/08/18            Page   27 of 57
                                                                                                                  Case number (if known) 17-25508
                        First Name          Middle Name             Last Name



 Part 2: List Others to Be Notified for a Debt That You Already Listed Additional Page
  13                                                                                        On which line in Part 1 did you enter the creditor?   3
        Nationstar Mortgage, LLC d.b.a mr. Cooper
       Name
                                                                                            Last 4 digits of account number 6      4   5    6
        PO Box 7729
       Number           Street



        Springfield, OH 45501-7729
       City                                                 State         ZIP Code



  14                                                                                        On which line in Part 1 did you enter the creditor?   4
        Ocwen
       Name
                                                                                            Last 4 digits of account number
        P.O. Box 24738
       Number           Street



        West Palm Bch, FL 33416-4738
       City                                                 State         ZIP Code



  15                                                                                        On which line in Part 1 did you enter the creditor?   3
        Robertson Anscutz & Schneid PL
       Name
                                                                                            Last 4 digits of account number
        6409 Congress Ave Ste 100
       Number           Street



        Boca Raton, FL 33487-2853
       City                                                 State         ZIP Code



  16                                                                                        On which line in Part 1 did you enter the creditor?   3
        Shapiro, Fishman & Gaché, LLP
       Name
                                                                                            Last 4 digits of account number 9      9   8    4
        4630 Woodland Corporate Blvd Ste 100
       Number           Street



        Tampa, FL 33614-2429
       City                                                 State         ZIP Code



  17                                                                                        On which line in Part 1 did you enter the creditor?   3
        Shapiro, Fishman & Gaché, LLP
       Name
                                                                                            Last 4 digits of account number        C   X    E
        2424 N Federal Hwy Ste 360
       Number           Street



        Boca Raton, FL 33431-7780
       City                                                 State         ZIP Code



  18                                                                                        On which line in Part 1 did you enter the creditor?   5
        Trip Up Trust
       Name
                                                                                            Last 4 digits of account number P      o   l    k
        11289 Wedgefield Ct
       Number           Street
        c/o James G. Kincaid & Suzanne A. Kincaid

        Fishers, IN 46037-8862
       City                                                 State         ZIP Code


       If this is the last page of your form, add the dollar value totals from all pages. Write that number           $1,001,498.60
       here:

Official Form 106D                               Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                                  page 8 of 8
                                       Case 17-25508-EPK                   Doc 11         Filed 01/08/18              Page 28 of 57
 Fill in this information to identify your case:

  Debtor 1               Kevin                 Christopher       Gleason
                         First Name            Middle Name       Last Name

  Debtor 2               First Name            Middle Name       Last Name
  (Spouse, if filing)

  United States Bankruptcy Court for the:                      Southern District of Florida

  Case number           17-25508                                                                                                            ❑Check if this is an
  (if known)                                                                                                                                    amended filing


Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                        12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in Schedule
D: Creditors Who Hold Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach
the Continuation Page to this page. On the top of any additional pages, write your name and case number (if known).

 Part 1: List All of Your PRIORITY Unsecured Claims

  1. Do any creditors have priority unsecured claims against you?
     ❑ No. Go to Part 2.
     ✔ Yes.
     ❑
  2. List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
     identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
     possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
     Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
     (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                                  Total claim     Priority         Nonpriority
                                                                                                                                                  amount           amount

2.1      Internal Revenue Service                                   Last 4 digits of account number 3815                            unknown         unknown         unknown
        Priority Creditor's Name
                                                                    When was the debt incurred?
         Centralized Insolvency Operations
                                                                    As of the date you file, the claim is: Check all that
         POB 7346                                                   apply.
        Number            Street                                    ❑ Contingent
         Philadelphia, PA 19101-7346                                ✔ Unliquidated
                                                                    ❑
        City                               State    ZIP Code        ❑ Disputed
        Who incurred the debt? Check one.                           Type of PRIORITY unsecured claim:
        ❑ Debtor 1 only                                             ❑ Domestic support obligations
        ❑ Debtor 2 only                                             ✔ Taxes and certain other debts you owe the
                                                                    ❑
        ❑ Debtor 1 and Debtor 2 only                                    government
        ❑ At least one of the debtors and another                   ❑ Claims for death or personal injury while you were
        ❑ Check if this claim is for a community debt                   intoxicated
        Is the claim subject to offset?
                                                                    ❑ Other. Specify
        ✔ No
        ❑
        ❑ Yes
        Remarks: 2016 (on extension) and 2017 1040 Income
        taxes




Official Form 106E/F                                           Schedule E/F: Creditors Who Have Unsecured Claims                                                    page 1 of 6
 Debtor 1              Kevin
                                      CaseChristopher
                                           17-25508-EPKGleason
                                                           Doc 11                           Filed 01/08/18               Page   29 of 57
                                                                                                                          Case number (if known) 17-25508
                       First Name             Middle Name               Last Name

 Part 2: List All of Your NONPRIORITY Unsecured Claims

  3. Do any creditors have nonpriority unsecured claims against you?
      ❑ No. You have nothing to report in this part. Submit this form to the court with your other schedules.
      ✔ Yes.
      ❑
  4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
     unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
     than one creditor holds a particular claim, list the other creditors in Part 3. If you have more than three nonpriority unsecured claims fill out the Continuation Page of
     Part 2.
                                                                                                                                                             Total claim

4.1     Barclays Bank                                                                                                                                                 $6,997.76
                                                                                  Last 4 digits of account number
        Nonpriority Creditor's Name
                                                                                  When was the debt incurred?          12/12/2016
        125 E West Street
                                                                                 As of the date you file, the claim is: Check all that apply.
        Number          Street
         Wilmington, DE 19801-5014
                                                                                 ❑ Contingent
        City                             State     ZIP Code                      ❑ Unliquidated
        Who incurred the debt? Check one.
                                                                                 ❑ Disputed
        ❑ Debtor 1 only                                                           Type of NONPRIORITY unsecured claim:
        ❑ Debtor 2 only                                                           ❑ Student loans
        ❑ Debtor 1 and Debtor 2 only                                              ❑ Obligations arising out of a separation agreement or
                                                                                      divorce that you did not report as priority claims
        ❑ At least one of the debtors and another                                 ❑ Debts to pension or profit-sharing plans, and other
        ❑ Check if this claim is for a community debt                                 similar debts
        Is the claim subject to offset?                                           ✔ Other. Specify
                                                                                  ❑
        ✔ No
        ❑                                                                            Amount due after Chapter 11, discharged but
                                                                                      payable on sale of certain real property.
        ❑ Yes
4.2     Bashkin, Leonard                                                                                                                                                   $318.34
                                                                                  Last 4 digits of account number
        Nonpriority Creditor's Name
                                                                                  When was the debt incurred?          12/12/2016
        100 Riverside Drive
                                                                                 As of the date you file, the claim is: Check all that apply.
        Number          Street
        Moreland Hill, OH 44022-1155
                                                                                 ❑ Contingent
        City                             State     ZIP Code                      ❑ Unliquidated
        Who incurred the debt? Check one.
                                                                                 ❑ Disputed
        ❑ Debtor 1 only                                                           Type of NONPRIORITY unsecured claim:
        ❑ Debtor 2 only                                                           ❑ Student loans
        ❑ Debtor 1 and Debtor 2 only                                              ❑ Obligations arising out of a separation agreement or
                                                                                      divorce that you did not report as priority claims
        ❑ At least one of the debtors and another                                 ❑ Debts to pension or profit-sharing plans, and other
        ❑ Check if this claim is for a community debt                                 similar debts
        Is the claim subject to offset?                                           ✔ Other. Specify
                                                                                  ❑
        ✔ No
        ❑                                                                            Amount due after Chapter 11, discharged but
                                                                                      payable on sale of certain real property.
        ❑ Yes
        Remarks: Will be paid outside the Plan from proceeds of sale of
         real estate.




Official Form 106E/F                                           Schedule E/F: Creditors Who Have Unsecured Claims                                                           page 2 of 6
                                     Case 17-25508-EPK                    Doc 11       Filed 01/08/18               Page 30 of 57
 Debtor 1              Kevin               Christopher             Gleason                                            Case number (if known) 17-25508
                       First Name          Middle Name             Last Name


 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                         Total claim


4.3     Discover Bank                                                        Last 4 digits of account number 0987                                          $2,401.23
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?          12/12/2016
        Po Box 15316
                                                                             As of the date you file, the claim is: Check all that apply.
       Number           Street
        Wilmington, DE 19850-5316
                                                                             ❑ Contingent
       City                           State     ZIP Code                     ❑ Unliquidated
       Who incurred the debt? Check one.                                     ❑ Disputed
       ❑ Debtor 1 only                                                       Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                       ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                          ❑ Obligations arising out of a separation agreement or
                                                                                 divorce that you did not report as priority claims
       ❑ At least one of the debtors and another
                                                                             ❑ Debts to pension or profit-sharing plans, and other
       ❑ Check if this claim is for a community debt                             similar debts
       Is the claim subject to offset?                                       ✔ Other. Specify
                                                                             ❑
       ✔ No
       ❑                                                                         Amount due after Chapter 11, discharged but
                                                                                 payable on sale of certain real property.
       ❑ Yes
        Remarks: Will be paid outside the Plan from proceeds of sale of
        real estate.
4.4     Gleason, Patricia Ecker                                                                                                                           $10,000.00
                                                                             Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?          12/12/2016
        1504 Summer Ave
       Number           Street                                               As of the date you file, the claim is: Check all that apply.
        Jupiter, FL 33469-3120                                               ❑ Contingent
       City                           State     ZIP Code                     ❑ Unliquidated
       Who incurred the debt? Check one.                                     ❑ Disputed
       ❑ Debtor 1 only                                                       Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                       ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                          ❑ Obligations arising out of a separation agreement or
       ❑ At least one of the debtors and another                                 divorce that you did not report as priority claims

       ❑ Check if this claim is for a community debt                         ❑ Debts to pension or profit-sharing plans, and other
                                                                                 similar debts
       Is the claim subject to offset?                                       ✔ Other. Specify
                                                                             ❑
       ✔ No
       ❑                                                                         Amount due after Chapter 11, discharged but
                                                                                 payable on sale of certain real property.
       ❑ Yes
        Remarks: Will be paid outside the Plan from proceeds of sale of
        real estate.




Official Form 106E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                                   page 3 of 6
                                     Case 17-25508-EPK                    Doc 11       Filed 01/08/18               Page 31 of 57
 Debtor 1              Kevin               Christopher             Gleason                                            Case number (if known) 17-25508
                       First Name          Middle Name             Last Name


 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                         Total claim


4.5     Internal Revenue Service                                             Last 4 digits of account number 3815                                          $5,434.76
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?          12/12/2016
        Centralized Insolvency Operations
                                                                             As of the date you file, the claim is: Check all that apply.
        POB 7346
       Number           Street
                                                                             ❑ Contingent
        Philadelphia, PA 19101-7346
                                                                             ❑ Unliquidated
       City                           State     ZIP Code                     ❑ Disputed
       Who incurred the debt? Check one.                                     Type of NONPRIORITY unsecured claim:
       ❑ Debtor 1 only                                                       ❑ Student loans
       ❑ Debtor 2 only                                                       ❑ Obligations arising out of a separation agreement or
                                                                                 divorce that you did not report as priority claims
       ❑ Debtor 1 and Debtor 2 only
                                                                             ❑ Debts to pension or profit-sharing plans, and other
       ❑ At least one of the debtors and another                                 similar debts
       ❑ Check if this claim is for a community debt                         ✔ Other. Specify
                                                                             ❑
                                                                                 Amount due after Chapter 11, discharged but
       Is the claim subject to offset?
                                                                                 payable on sale of certain real property.
       ✔ No
       ❑
       ❑ Yes
        Remarks: Will be paid outside the Plan from proceeds of sale of
        real estate.
4.6     Jager Smith PC                                                       Last 4 digits of account number 001M                                          $9,386.78
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?          12/12/2016
        Po Box 498
                                                                             As of the date you file, the claim is: Check all that apply.
       Number           Street
        Norwell, MA 02061-0498
                                                                             ❑ Contingent
       City                           State     ZIP Code                     ❑ Unliquidated
       Who incurred the debt? Check one.                                     ❑ Disputed
       ❑ Debtor 1 only                                                       Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                       ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                          ❑ Obligations arising out of a separation agreement or
                                                                                 divorce that you did not report as priority claims
       ❑ At least one of the debtors and another
                                                                             ❑ Debts to pension or profit-sharing plans, and other
       ❑ Check if this claim is for a community debt                             similar debts
       Is the claim subject to offset?                                       ✔ Other. Specify
                                                                             ❑
       ✔ No
       ❑                                                                         Amount due after Chapter 11, discharged but
                                                                                 payable on sale of certain real property.
       ❑ Yes
        Remarks: Will be paid outside the Plan from proceeds of sale of
        real estate.




Official Form 106E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                                   page 4 of 6
                                    Case 17-25508-EPK                   Doc 11          Filed 01/08/18             Page 32 of 57
 Debtor 1              Kevin               Christopher             Gleason                                           Case number (if known) 17-25508
                       First Name          Middle Name              Last Name

 Part 3: List Others to Be Notified About a Debt That You Already Listed

  5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection
     agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly,
     if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons
     to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.
        Discover Bank                                                 On which entry in Part 1 or Part 2 did you list the original creditor?
       Name
        POB 3025                                                      Line   4.3   of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Number           Street                                                                    ✔ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                                  ❑
        New Albany, NY 43054-3025
       City                                  State      ZIP Code      Last 4 digits of account number 0987

                                                                      One which entry in Part 1 or Part 2 did you list the original creditor?

                                                                                   of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Name
                                                                      Line
       Number           Street                                                                     ❑ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                      Last 4 digits of account number

       City                                  State      ZIP Code


                                                                      One which entry in Part 1 or Part 2 did you list the original creditor?

                                                                                   of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Name
                                                                      Line
       Number           Street                                                                     ❑ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                      Last 4 digits of account number

       City                                  State      ZIP Code


                                                                      One which entry in Part 1 or Part 2 did you list the original creditor?

                                                                                   of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Name
                                                                      Line
       Number           Street                                                                     ❑ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                      Last 4 digits of account number

       City                                  State      ZIP Code


                                                                      One which entry in Part 1 or Part 2 did you list the original creditor?

                                                                                   of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Name
                                                                      Line
       Number           Street                                                                     ❑ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                      Last 4 digits of account number

       City                                  State      ZIP Code


                                                                      One which entry in Part 1 or Part 2 did you list the original creditor?

                                                                                   of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Name
                                                                      Line
       Number           Street                                                                     ❑ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                      Last 4 digits of account number

       City                                  State      ZIP Code


                                                                      One which entry in Part 1 or Part 2 did you list the original creditor?

                                                                                   of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Name
                                                                      Line
       Number           Street                                                                     ❑ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                      Last 4 digits of account number

       City                                  State      ZIP Code




Official Form 106E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                                  page 5 of 6
                                    Case 17-25508-EPK                    Doc 11     Filed 01/08/18           Page 33 of 57
 Debtor 1              Kevin                Christopher            Gleason                                     Case number (if known) 17-25508
                       First Name           Middle Name             Last Name

 Part 4: Add the Amounts for Each Type of Unsecured Claim

  6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
     type of unsecured claim.




                                                                                            Total claim


                   6a. Domestic support obligations                               6a.                              $0.00
 Total claims
 from Part 1       6b. Taxes and certain other debts you owe the                  6b.                              $0.00
                       government

                   6c. Claims for death or personal injury while you              6c.                              $0.00
                       were intoxicated

                   6d. Other. Add all other priority unsecured claims.            6d.   +                          $0.00
                       Write that amount here.

                   6e. Total. Add lines 6a through 6d.                            6e.                               $0.00




                                                                                            Total claim


                   6f. Student loans                                              6f.                              $0.00
 Total claims
 from Part 2       6g. Obligations arising out of a separation                    6g.                              $0.00
                       agreement or divorce that you did not report as
                       priority claims

                   6h. Debts to pension or profit-sharing plans, and              6h.                              $0.00
                       other similar debts

                   6i. Other. Add all other nonpriority unsecured claims.         6i.   +                     $34,538.87
                       Write that amount here.

                   6j. Total. Add lines 6f through 6i.                            6j.                          $34,538.87




Official Form 106E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                          page 6 of 6
                                         Case 17-25508-EPK                  Doc 11          Filed 01/08/18             Page 34 of 57
 Fill in this information to identify your case:

     Debtor 1               Kevin              Christopher        Gleason
                            First Name         Middle Name        Last Name

     Debtor 2               First Name         Middle Name        Last Name
     (Spouse, if filing)

     United States Bankruptcy Court for the:                     Southern District of Florida

     Case number           17-25508                                                                                                          ❑Check if this is an
     (if known)                                                                                                                                   amended filing


Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                                    12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any additional pages, write your name and case number (if
known).

 1.     Do you have any executory contracts or unexpired leases?
        ✔No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
        ❑
        ❑Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).
2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for example, rent,
       vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and unexpired leases.



       Person or company with whom you have the contract or lease                               State what the contract or lease is for

2.1

        Name

        Number         Street

        City                              State    ZIP Code

2.2

        Name

        Number         Street

        City                              State    ZIP Code

2.3

        Name

        Number         Street

        City                              State    ZIP Code

2.4

        Name

        Number         Street

        City                              State    ZIP Code

2.5

        Name

        Number         Street

        City                              State    ZIP Code



Official Form 106G                                            Schedule G: Executory Contracts and Unexpired Leases                                                  page 1 of 1
                                        Case 17-25508-EPK                       Doc 11      Filed 01/08/18           Page 35 of 57
 Fill in this information to identify your case:

  Debtor 1                Kevin                  Christopher          Gleason
                          First Name             Middle Name          Last Name

  Debtor 2                First Name             Middle Name          Last Name
  (Spouse, if filing)

  United States Bankruptcy Court for the:                        Southern District of Florida

  Case number           17-25508                                                                                                           ❑Check if this is an
  (if known)                                                                                                                                     amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                                            12/15
Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people are filing together,
both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out, and number the entries in the boxes on
the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and case number (if known). Answer every question.

 1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
      ❑No
      ✔Yes
      ❑
 2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include Arizona, California, Idaho,
    Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
      ✔No. Go to line 3.
      ❑
      ❑Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
        ❑No
        ❑Yes. In which community state or territory did you live?                                      . Fill in the name and current address of that person.


               Name

               Number          Street

               City                                State   ZIP Code

 3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown in line 2 again as a
    codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official Form 106D), Schedule E/F (Official
    Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill out Column 2.

      Column 1: Your codebtor                                                                                Column 2: The creditor to whom you owe the debt
                                                                                                               Check all schedules that apply:
3.1
      Fleishman c/o Jill Leonard, Brooke Lynn
                                                                                                               ✔Schedule D, line 2.2, 2.6, 2.7
                                                                                                               ❑
      Name
      4210 Aria Dr
                                                                                                               ❑Schedule E/F, line
      Number          Street                                                                                   ❑Schedule G, line
      Me bourne, FL 32904-1203
      City                               State       ZIP Code

3.2
      Fleishman, Jordan Nicole
                                                                                                               ✔Schedule D, line 2.2, 2.6, 2.7
                                                                                                               ❑
      Name
      4210 Aria Dr
                                                                                                               ❑Schedule E/F, line
      Number          Street                                                                                   ❑Schedule G, line
      Me bourne, FL 32904-1203
      City                               State       ZIP Code

3.3
      Florida Bankruptcy Group, LLC
                                                                                                               ✔Schedule D, line 2.8
                                                                                                               ❑
      Name
      4121 N 31st Ave
                                                                                                               ❑Schedule E/F, line
      Number          Street                                                                                   ❑Schedule G, line
      Hollywood, FL 33021-2011
      City                               State       ZIP Code

Official Form 106H                                                              Schedule H: Your Codebtors                                                        page 1 of 1
                                       Case 17-25508-EPK                   Doc 11           Filed 01/08/18             Page 36 of 57
 Fill in this information to identify your case:

  Debtor 1               Kevin                 Christopher       Gleason
                         First Name            Middle Name       Last Name

  Debtor 2               First Name            Middle Name       Last Name
  (Spouse, if filing)                                                                                                            Check if this is:
  United States Bankruptcy Court for the:                     Southern District of Florida                                       ❑An amended filing
  Case number           17-25508                                                                                                 ❑A supplement showing postpetition
                                                                                                                                       chapter 13 income as of the following date:
  (if known)

                                                                                                                                       MM / DD / YYYY

Official Form 106I
Schedule I: Your Income                                                                                                                                                  12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for supplying correct
information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse. If you are separated and your
spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write your name and case number (if known). Answer every question.


 Part 1: Describe Employment


 1. Fill in your employment
    information.                                                                 Debtor 1                                          Debtor 2 or non-filing spouse

                                                                             ✔Employed
                                                                             ❑                                                 ✔Employed
                                                                                                                               ❑
     If you have more than one job,            Employment status
     attach a separate page with                                             ❑Not Employed                                     ❑Not Employed
     information about additional
     employers.                                                              Attorney                                          Real Estate Broker/Sales
                                               Occupation
     Include part time, seasonal, or
                                                                             Florida Bankruptcy Group, LLC                     Patricia Gleason LLC
     self-employed work.                       Employer's name

     Occupation may include student                                          4121 N 31st Ave                                   1504 Summer Ave
                                               Employer's address
     or homemaker, if it applies.                                             Number Street                                     Number Street

                                                                             4121 N 31 Ave




                                                                             Hollywood, FL 33021-2011                          Jupiter, FL 33469-3120
                                                                              City                     State    Zip Code        City                    State      Zip Code
                                               How long employed there? 9 years                                                 6 months


 Part 2: Give Details About Monthly Income


     Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing spouse unless you
     are separated.
     If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need more space,
     attach a separate sheet to this form.

                                                                                                           For Debtor 1     For Debtor 2 or
                                                                                                                            non-filing spouse

 2. List monthly gross wages, salary, and commissions (before all payroll
    deductions.) If not paid monthly, calculate what the monthly wage would be.               2.               $2,466.67                 $7,481.25

 3. Estimate and list monthly overtime pay.                                                   3.   +               $0.00   +                 $0.00


 4. Calculate gross income. Add line 2 + line 3.                                              4.               $2,466.67                 $7,481.25




Official Form 106I                                                            Schedule I: Your Income                                                                   page 1
 Debtor 1                   Kevin
                                                CaseChristopher
                                                     17-25508-EPKGleason
                                                                     Doc 11                                         Filed 01/08/18          Page   37 of 57
                                                                                                                                             Case number (if known) 17-25508
                            First Name                      Middle Name                         Last Name


                                                                                                                                    For Debtor 1       For Debtor 2 or
                                                                                                                                                       non-filing spouse
      Copy line 4 here....................................................................................➔            4.              $2,466.67               $7,481.25
 5.   List all payroll deductions:

      5a. Tax, Medicare, and Social Security deductions                                                                5a.                $0.00                  $315.27

      5b. Mandatory contributions for retirement plans                                                                 5b.               $68.63                    $0.00

      5c. Voluntary contributions for retirement plans                                                                 5c.               $33.33                   $77.50

      5d. Required repayments of retirement fund loans                                                                 5d.                $0.00                  $137.76

      5e. Insurance                                                                                                    5e.                $0.00                    $0.00

      5f. Domestic support obligations                                                                                 5f.                $0.00                    $0.00

      5g. Union dues                                                                                                   5g.                $0.00                    $0.00

                                                                                                                       5h.
                                                                                                                             +             $0 00       +           $0 00
      5h. Other deductions. Specify:
 6.   Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.                                      6.               $101.96                  $530.53
 7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                                              7.              $2,364.71               $6,950.72
 8.   List all other income regularly received:

      8a. Net income from rental property and from operating a business,
          profession, or farm
            Attach a statement for each property and business showing gross receipts,
            ordinary and necessary business expenses, and the total monthly net income.
                                                                                                                       8a.                $0.00                    $0.00
      8b. Interest and dividends
                                                                                                                       8b.                $0.00                    $0.00
      8c. Family support payments that you, a non-filing spouse, or a dependent
          regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                                                       8c.                $0.00                    $0.00
      8d. Unemployment compensation                                                                                    8d.                $0.00                    $0.00
      8e. Social Security                                                                                              8e.                $0.00                    $0.00
      8f. Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash assistance
            that you receive, such as food stamps (benefits under the Supplemental
            Nutrition Assistance Program) or housing subsidies.
                                                                                                                       8f.                $0.00                    $0.00
            Specify:
                                                                                                                       8g.                $0.00                    $0.00
      8g. Pension or retirement income
      8h. Other monthly income. Specify:                                                                               8h.   +             $0 00       +           $0 00



 9.   Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                            9.                  $0.00                    $0.00

 10. Calculate monthly income. Add line 7 + line 9.
     Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse                                         10.             $2,364.71   +            $6,950.72        =       $9,315.43

 11. State all other regular contributions to the expenses that you list in Schedule J.
      Include contr butions from an unmarried partner, members of your household, your dependents, your roommates, and other
      friends or relatives.
      Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

      Specify:                                                                                                                                                         11. +              $0.00
 12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income. Write that
     amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                                               12.          $9,315.43
                                                                                                                                                                                 Combined
                                                                                                                                                                                 monthly income
 13. Do you expect an increase or decrease within the year after you file this form?
      ❑No.
      ✔Yes. Explain:
      ❑                          Non-debtor spouse works on commissions, which is unpredictable. Debtor's income is unpredictable as same can only be paid after covering
                                 all expenses of the law firm.



Official Form 106I                                                                                        Schedule I: Your Income                                                          page 2
                                       Case 17-25508-EPK                        Doc 11        Filed 01/08/18            Page 38 of 57
 Fill in this information to identify your case:

  Debtor 1               Kevin                 Christopher           Gleason
                         First Name            Middle Name           Last Name                                     Check if this is:
  Debtor 2               First Name            Middle Name           Last Name                                     ❑An amended filing
  (Spouse, if filing)
                                                                                                                   ❑A supplement showing postpetition
  United States Bankruptcy Court for the:                          Southern District of Florida                         chapter 13 income as of the following date:

  Case number           17-25508
                                                                                                                        MM / DD / YYYY
  (if known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                              12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, attach another sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

 Part 1: Describe Your Household

 1. Is this a joint case?

     ✔No. Go to line 2.
     ❑
     ❑Yes. Does Debtor 2 live in a separate household?
            ❑No
            ❑Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
 2. Do you have dependents?                        ❑No
     Do not list Debtor 1 and                      ✔Yes. Fill out this information for
                                                   ❑                                      Dependent's relationship to           Dependent's         Does dependent live
     Debtor 2.                                                                            Debtor 1 or Debtor 2                  age                 with you?
                                                      each dependent...............
     Do not state the dependents' names.                                                                                                            ✔ No.
                                                                                                                                                    ❑
                                                                                           Child                                21                  ❑Yes.
                                                                                                                                                    ❑No
                                                                                                                                                    ❑Yes
                                                                                                                                                    ❑No
                                                                                                                                                    ❑Yes
                                                                                                                                                    ❑No
                                                                                                                                                    ❑Yes
                                                                                                                                                    ❑No
                                                                                                                                                    ❑Yes
 3. Do your expenses include expenses              ✔ No
                                                   ❑
    of people other than yourself and
    your dependents?
                                                   ❑Yes


 Part 2: Estimate Your Ongoing Monthly Expenses

 Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report expenses as of a date after
 the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the applicable date.

 Include expenses paid for with non-cash government assistance if you know the value of                                                     Your expenses
 such assistance and have included it on Schedule I: Your Income (Official Form 106I.)

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and any rent for the
    ground or lot.                                                                                                                4.                       $2,081.01


     If not included in line 4:
                                                                                                                                  4a.                          $0.00
     4a. Real estate taxes
                                                                                                                                  4b.                          $0.00
     4b. Property, homeowner's, or renter's insurance
                                                                                                                                  4c.                        $250.00
     4c. Home maintenance, repair, and upkeep expenses
                                                                                                                                  4d.                          $0.00
     4d. Homeowner's association or condominium dues




Official Form 106J                                                                    Schedule J: Your Expenses                                                        page 1
 Debtor 1              Kevin
                                      CaseChristopher
                                           17-25508-EPKGleason
                                                           Doc 11                       Filed 01/08/18       Page   39 of 57
                                                                                                              Case number (if known) 17-25508
                       First Name             Middle Name               Last Name


                                                                                                                              Your expenses

 5.    Additional mortgage payments for your residence, such as home equity loans                                    5.

 6.    Utilities:

       6a. Electricity, heat, natural gas                                                                            6a.                        $121.00

       6b. Water, sewer, garbage collection                                                                          6b.                         $66.00

       6c. Telephone, cell phone, Internet, satellite, and cable services                                            6c.                         $70.00

       6d. Other. Specify:                      1312 Po k Street                                                     6d.                        $280.00

 7.    Food and housekeeping supplies                                                                                7.                    $1,118.00

 8.    Childcare and children’s education costs                                                                      8.                    $1,598.00

 9.    Clothing, laundry, and dry cleaning                                                                           9.                         $200.00

 10. Personal care products and services                                                                             10.                        $130.00

 11.   Medical and dental expenses                                                                                   11.                        $167.00

 12. Transportation. Include gas, maintenance, bus or train fare.
     Do not include car payments.                                                                                    12.                        $406.00

 13. Entertainment, clubs, recreation, newspapers, magazines, and books                                              13.                         $52.00

 14. Charitable contributions and religious donations                                                                14.                          $0.00

 15. Insurance.
       Do not include insurance deducted from your pay or included in lines 4 or 20.

                                                                                                                     15a.                       $213.00
       15a. Life insurance
                                                                                                                     15b.                         $0.00
       15b. Health insurance
                                                                                                                     15c.                       $542.00
       15c. Vehicle insurance
                                                                                                                     15d.                       $181.30
       15d. Other insurance. Specify:             Casualty for 4121 and lots

 16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
       Specify:                                                                                                      16.                          $0.00

 17. Installment or lease payments:

       17a. Car payments for Vehicle 1                                                                               17a.

       17b. Car payments for Vehicle 2                                                                               17b.

       17c. Other. Specify:                 Daughter's Car                                                           17c.                       $258.44

       17d. Other. Specify:                                                                                          17d.

 18. Your payments of alimony, maintenance, and support that you did not report as deducted
     from your pay on line 5, Schedule I, Your Income (Official Form 106I).                                          18.                          $0.00

 19. Other payments you make to support others who do not live with you.
       Specify:                                                                                                      19.                          $0.00

 20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

       20a. Mortgages on other property                                                                              20a.                  $1,199.10

       20b. Real estate taxes                                                                                        20b.                        $85.39

       20c. Property, homeowner’s, or renter’s insurance                                                             20c.                         $0.00
       20d. Maintenance, repair, and upkeep expenses                                                                 20d.                         $0.00
       20e. Homeowner’s association or condominium dues                                                              20e.                         $0.00

Official Form 106J                                                              Schedule J: Your Expenses                                                 page 2
 Debtor 1              Kevin
                                     CaseChristopher
                                          17-25508-EPKGleason
                                                          Doc 11                        Filed 01/08/18      Page   40 of 57
                                                                                                             Case number (if known) 17-25508
                       First Name           Middle Name              Last Name



 21. Other. Specify:                                                                                                21.     +                    $0.00

 22. Calculate your monthly expenses.

      22a. Add lines 4 through 21.                                                                                  22a.                  $9,018.24

      22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                          22b.                         $0.00

      22c. Add line 22a and 22b. The result is your monthly expenses.                                               22c.                  $9,018.24


 23. Calculate your monthly net income.

      23a. Copy line 12 (your combined monthly income) from Schedule I.                                             23a.                  $9,315.43

      23b. Copy your monthly expenses from line 22c above.                                                          23b.    –              $9,018.24

      23c. Subtract your monthly expenses from your monthly income.
                                                                                                                    23c.                       $297.19
            The result is your monthly net income.



 24. Do you expect an increase or decrease in your expenses within the year after you file this form?

      For example, do you expect to finish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

      ✔ No.
      ❑              None
      ❑Yes.




Official Form 106J                                                             Schedule J: Your Expenses                                                 page 3
                                               Case 17-25508-EPK                                  Doc 11               Filed 01/08/18                       Page 41 of 57
 Fill in this information to identify your case:

  Debtor 1                 Kevin                          Christopher                Gleason
                           First Name                    Middle Name                 Last Name

  Debtor 2                 First Name                    Middle Name                 Last Name
  (Spouse, if filing)

  United States Bankruptcy Court for the:                                         Southern District of Florida

  Case number            17-25508                                                                                                                                                   ❑Check if this is an
  (if known)                                                                                                                                                                           amended filing


Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical
Information                                                                                                                                                                                                        12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Fill out all of your
schedules first; then complete the information on this form. If you are filing amended schedules after you file your original forms, you must fill out a new Summary
and check the box at the top of this page.


 Part 1: Summarize Your Assets


                                                                                                                                                                                           Your assets
                                                                                                                                                                                           Value of what you own

 1. Schedule A/B: Property (Official Form 106A/B)
    1a. Copy line 55, Total real estate, from Schedule A/B...........................................................................................................                                      $478,747.50


    1b. Copy line 62, Total personal property, from Schedule A/B................................................................................................                                           $308,004.19


    1c. Copy line 63, Total of all property on Schedule A/B...........................................................................................................                                     $786,751.69



 Part 2: Summarize Your Liabilities



                                                                                                                                                                                           Your liabilities
                                                                                                                                                                                           Amount you owe

 2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
    2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D.......                                                                            $1,001,498.60

 3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                                                                                  $0.00
    3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F......................................

    3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F.................................                                                     +                  $34,538.87


                                                                                                                                                                  Your total liabilities                 $1,036,037.47

 Part 3: Summarize Your Income and Expenses

 4. Schedule I: Your Income (Official Form 106I)
    Copy your combined monthly income from line 12 of Schedule I..........................................................................................                                                    $9,315.43


 5. Schedule J: Your Expenses (Official Form 106J)
    Copy your monthly expenses from line 22c of Schedule J..................................................................................                                                                  $9,018.24




Official Form 106Sum                                                    Summary of Your Assets and Liabilities and Certain Statistical Information                                                              page 1 of 2
                                    Case 17-25508-EPK                     Doc 11           Filed 01/08/18              Page 42 of 57
 Debtor 1             Kevin                 Christopher               Gleason                                              Case number (if known) 17-25508
                      First Name             Middle Name              Last Name



 Part 4: Answer These Questions for Administrative and Statistical Records



6. Are you filing for bankruptcy under Chapters 7, 11, or 13?
   ❑ No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
   ✔ Yes
   ❑

7. What kind of debt do you have?
   ❑ Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
       family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.
   ✔ Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
   ❑
       this form to the court with your other schedules.



8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
   Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.




9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:


                                                                                                                      Total claim

      From Part 4 on Schedule E/F, copy the following:


     9a. Domestic support obligations (Copy line 6a.)



     9b. Taxes and certain other debts you owe the government. (Copy line 6b.)



     9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)



     9d. Student loans. (Copy line 6f.)



     9e.Obligations arising out of a separation agreement or divorce that you did not report as priority
        claims. (Copy line 6g.)



     9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)                       +


     9g. Total. Add lines 9a through 9f.




Official Form 106Sum                                    Summary of Your Assets and Liabilities and Certain Statistical Information                           page 2 of 2
                                       Case 17-25508-EPK                Doc 11        Filed 01/08/18            Page 43 of 57
 Fill in this information to identify your case:

  Debtor 1               Kevin                 Christopher    Gleason
                         First Name            Middle Name    Last Name

  Debtor 2               First Name            Middle Name    Last Name
  (Spouse, if filing)

  United States Bankruptcy Court for the:                    Southern District of Florida

  Case number           17-25508                                                                                                      ❑Check if this is an
  (if known)                                                                                                                             amended filing


Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                               12/15
If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or obtaining money or
property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



               Sign Below



   Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

   ✔ No
   ❑
   ❑Yes. Name of person                                                             . Attach Bankruptcy Petition Preparer's Notice, Declaration, and Signature
                                                                                      (Official Form 119).




   Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaraion and that they are true and correct.




   ✘ /s/ Kevin Christopher Gleason
        Kevin Christopher Gleason, Debtor 1                           ✘
        Date 01/08/2018                                                    Date
                MM/ DD/ YYYY                                                      MM/ DD/ YYYY




Official Form 106Dec                                         Declaration About an Individual Debtor's Schedules
                                       Case 17-25508-EPK                    Doc 11         Filed 01/08/18          Page 44 of 57
 Fill in this information to identify your case:

  Debtor 1               Kevin                 Christopher        Gleason
                         First Name            Middle Name        Last Name

  Debtor 2               First Name            Middle Name        Last Name
  (Spouse, if filing)

  United States Bankruptcy Court for the:                       Southern District of Florida

  Case number           17-25508                                                                                                      ❑Check if this is an
  (if known)                                                                                                                               amended filing


Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                              04/16
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.



 Part 1: Give Details About Your Marital Status and Where You Lived Before


 1. What is your current marital status?

    ✔ Married
    ❑
    ❑ Not married

 2. During the last 3 years, have you lived anywhere other than where you live now?

    ❑ No
    ✔ Yes. List all of the places you lived in the last 3 years. Do not include where you live now.
    ❑
         Debtor 1:                                                Dates Debtor 1 lived      Debtor 2:                                            Dates Debtor 2 lived
                                                                  there                                                                          there


                                                                                           ❑ Same as Debtor 1                                   ❑ Same as Debtor 1
        1442 Po k St                                            From Aug 01, 2009                                                               From
       Number       Street                                                                    Number    Street
                                                                To     Dec 29, 2016                                                             To

        Hollywood, FL 33020-5245
       City                               State ZIP Code                                      City                        State ZIP Code



                                                                                           ❑ Same as Debtor 1                                   ❑ Same as Debtor 1
        1503 Berkshire Ave                                      From Dec 30, 2016                                                               From
       Number       Street                                                                    Number    Street
                                                                To     May 31, 2017                                                             To

        Jupiter, FL 33469-3103
       City                               State ZIP Code                                      City                        State ZIP Code




 3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property states and territories
    include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

    ✔ No
    ❑
    ❑ Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).




Official Form 107                                            Statement of Financial Affairs for Individuals Filing for Bankruptcy                                  page 1
 Debtor 1             Kevin
                                   CaseChristopher
                                        17-25508-EPKGleason
                                                        Doc 11                           Filed 01/08/18             Page   45 of 57
                                                                                                                     Case number (if known) 17-25508
                      First Name             Middle Name             Last Name




 Part 2: Explain the Sources of Your Income



 4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
    Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
    If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                                     Debtor 1                                                    Debtor 2

                                                     Sources of income             Gross Income                  Sources of income            Gross Income
                                                     Check all that apply.         (before deductions and        Check all that apply.        (before deductions and
                                                                                   exclusions)                                                exclusions)


     From January 1 of current year until the
                                                    ✔ Wages, commissions,
                                                    ❑                                                           ✔ Wages, commissions,
                                                                                                                ❑
     date you filed for bankruptcy:                     bonuses, tips                                               bonuses, tips
                                                    ✔ Operating a business
                                                    ❑                                                           ✔ Operating a business
                                                                                                                ❑

     For last calendar year:                        ✔ Wages, commissions,
                                                    ❑                                                           ✔ Wages, commissions,
                                                                                                                ❑
                                                        bonuses, tips                         $73,400.00            bonuses, tips
     (January 1 to December 31, 2017         )
                                      YYYY          ✔ Operating a business
                                                    ❑                                                           ✔ Operating a business
                                                                                                                ❑

     For the calendar year before that:             ✔ Wages, commissions,
                                                    ❑                                                           ✔ Wages, commissions,
                                                                                                                ❑
                                                        bonuses, tips                         $73,400.00            bonuses, tips
     (January 1 to December 31, 2016         )
                                      YYYY          ✔ Operating a business
                                                    ❑                                                           ✔ Operating a business
                                                                                                                ❑

 5. Did you receive any other income during this year or the two previous calendar years?
    Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment, and other public benefit
    payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery winnings. If you are filing a joint case and you
    have income that you received together, list it only once under Debtor 1.
    List each source and the gross income from each source separately. Do not include income that you listed in line 4.

    ❑ No
    ✔ Yes. Fill in the details.
    ❑

                                                     Debtor 1                                                    Debtor 2

                                                     Sources of income             Gross income from each        Sources of income            Gross Income from each
                                                     Describe below.               source                        Descr be below.              csoure
                                                                                   (before deductions and                                     (before deductions and
                                                                                   exclusions)                                                exclusions)


     From January 1 of current year until the
     date you filed for bankruptcy:




     For last calendar year:                         Recycled batteries                             $47.00
     (January 1 to December 31, 2017         )       Draw/Advance from                         $10,500.00
                                      YYYY           FBG




Official Form 107                                          Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 2
 Debtor 1              Kevin
                                     CaseChristopher
                                          17-25508-EPKGleason
                                                          Doc 11                          Filed 01/08/18               Page   46 of 57
                                                                                                                        Case number (if known) 17-25508
                       First Name             Middle Name              Last Name



     For the calendar year before that:              Sale of homestead,                         $519,566.69
     (January 1 to December 31, 2016          )      misc other
                                      YYYY           non-employment
                                                     income




 Part 3: List Certain Payments You Made Before You Filed for Bankruptcy

 6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

    ✔ No.
    ❑         Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
              individual primarily for a personal, family, or household purpose.”
              During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?

              ✔No. Go to line 7.
              ❑
              ❑Yes. List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the total amount you paid that
                          creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do not include
                          payments to an attorney for this bankruptcy case.
              * Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.


    ❑Yes.     Debtor 1 or Debtor 2 or both have primarily consumer debts.
              During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

              ❑No. Go to line 7.
              ❑Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not include
                          payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an attorney for
                          this bankruptcy case.



                                                                 Dates of            Total amount paid            Amount you still owe      Was this payment for…
                                                                 payment

                                                                                                                                          ❑Mortgage
                Creditor's Name                                                                                                           ❑Car
                                                                                                                                          ❑Credit card
                Number      Street                                                                                                        ❑Loan repayment
                                                                                                                                          ❑Suppliers or vendors
                                                                                                                                          ❑Other
                City                  State       ZIP Code


                                                                                                                                          ❑Mortgage
                Creditor's Name                                                                                                           ❑Car
                                                                                                                                          ❑Credit card
                Number      Street                                                                                                        ❑Loan repayment
                                                                                                                                          ❑Suppliers or vendors
                                                                                                                                          ❑Other
                City                  State       ZIP Code




Official Form 107                                            Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   page 3
 Debtor 1             Kevin
                                    CaseChristopher
                                         17-25508-EPKGleason
                                                         Doc 11                          Filed 01/08/18              Page   47 of 57
                                                                                                                      Case number (if known) 17-25508
                      First Name             Middle Name              Last Name



 7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
    Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations of which you are an
    officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for a business you operate as a sole
    proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and alimony.

    ✔ No
    ❑
    ❑Yes. List all payments to an insider.


                                                           Dates of            Total amount paid      Amount you still owe      Reason for this payment
                                                           payment



     Insider's Name


     Number      Street




     City                      State     ZIP Code




     Insider's Name


     Number      Street




     City                      State     ZIP Code



 8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an insider?
    Include payments on debts guaranteed or cosigned by an insider.

    ✔ No
    ❑
    ❑Yes. List all payments that benefited an insider.


                                                           Dates of            Total amount paid      Amount you still owe      Reason for this payment
                                                           payment                                                              Include creditor’s name



     Insider's Name


     Number      Street




     City                      State     ZIP Code




     Insider's Name


     Number      Street




     City                      State     ZIP Code



Official Form 107                                          Statement of Financial Affairs for Individuals Filing for Bankruptcy                                          page 4
 Debtor 1             Kevin
                                    CaseChristopher
                                         17-25508-EPKGleason
                                                         Doc 11                            Filed 01/08/18              Page   48 of 57
                                                                                                                        Case number (if known) 17-25508
                      First Name             Middle Name               Last Name




 Part 4: Identify Legal Actions, Repossessions, and Foreclosures


 9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
    List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications, and contract
    disputes.

    ❑No
    ✔Yes. Fill in the details.
    ❑


                                                     Nature of the case                           Court or agency                                  Status of the case

                                                     Foreclosure
     Case title      Deutsche Bank National
                     Trust Company v. Kevin C
                                                                                                 Broward Circuit Court                           ❑Pending
                                                                                                                                                 ❑On appeal
                                                                                                Court Name
                     Gleason, et al.
                                                                                                 201 Se 6th St
                                                                                                Number       Street
                                                                                                                                                 ✔Concluded
                                                                                                                                                 ❑
     Case number 2015-CA-021920
                                                                                                 Ft Lauderdale, FL 33301-3303
                                                                                                City                       State     ZIP Code


                                                     Foreclsoure
     Case title      Deutsche Bank Trust
                     Company Americas v Kevin
                                                                                                 Broward Circuit Court                           ❑Pending
                                                                                                                                                 ❑On appeal
                                                                                                Court Name
                     C Gleason, et al.
                                                                                                 201 Se 6th St
                                                                                                Number       Street
                                                                                                                                                 ✔Concluded
                                                                                                                                                 ❑
     Case number CACE 11023591
                                                                                                 Ft Lauderdale, FL 33301-3303
                                                                                                City                       State     ZIP Code


                                                     Chapter 11 Bankruptcy
     Case title      In re: Kevin C. Gleason                                                     United States Bankruptcy Court, S.D. FL,        ❑Pending
     Case number 16-10001-JKO
                                                                                                 Fort Lauderdale Div.
                                                                                                Court Name
                                                                                                                                                 ❑On appeal
                                                                                                 299 E Broward Blvd 112
                                                                                                                                                 ✔Concluded
                                                                                                                                                 ❑
                                                                                                Number       Street
                                                                                                 Ft Lauderdale, FL 33301-1944
                                                                                                City                       State     ZIP Code


                                                     FDCPA
     Case title      Kevin C Gleason v.
                     Nationstar Mortgage,
                                                                                                 United States District Court, S.D. FL           ❑Pending
                                                                                                                                                 ❑On appeal
                                                                                                Court Name
                     LLC, et al.
                                                                                                 299 E Broward Blvd Ste 108
                                                                                                Number       Street
                                                                                                                                                 ✔Concluded
                                                                                                                                                 ❑
     Case number 17-cv-60854-WPD
                                                                                                 Ft Lauderdale, FL 33301-1922
                                                                                                City                       State     ZIP Code



 10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
     Check all that apply and fill in the details below.

     ✔No. Go to line 11.
     ❑
     ❑Yes. Fill in the information below.




Official Form 107                                          Statement of Financial Affairs for Individuals Filing for Bankruptcy                                            page 5
 Debtor 1              Kevin
                                    CaseChristopher
                                         17-25508-EPKGleason
                                                         Doc 11                           Filed 01/08/18           Page   49 of 57
                                                                                                                    Case number (if known) 17-25508
                       First Name              Middle Name             Last Name


                                                                     Describe the property                                 Date               Value of the property



              Creditor’s Name


              Number     Street                                      Explain what happened

                                                                    ❑Property was repossessed.
                                                                    ❑Property was foreclosed.
                                                                    ❑Property was garnished.
              City                          State   ZIP Code        ❑Property was attached, seized, or levied.
                                                                     Describe the property                                 Date               Value of the property



              Creditor’s Name


              Number     Street                                      Explain what happened

                                                                    ❑Property was repossessed.
                                                                    ❑Property was foreclosed.
                                                                    ❑Property was garnished.
              City                          State   ZIP Code        ❑Property was attached, seized, or levied.

 11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your accounts or refuse to
     make a payment because you owed a debt?

     ✔ No
     ❑
     ❑Yes. Fill in the details.


                                                                Describe the action the creditor took                       Date action was   Amount
                                                                                                                            taken
       Creditor’s Name


       Number        Street




                                                               Last 4 digits of account number: XXXX–
       City                         State      ZIP Code



 12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a court-appointed receiver,
     a custodian, or another official?

     ✔ No
     ❑
     ❑Yes

 Part 5: List Certain Gifts and Contributions



 13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

    ✔ No
    ❑
    ❑Yes. Fill in the details for each gift.




Official Form 107                                            Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 6
 Debtor 1              Kevin
                                       CaseChristopher
                                            17-25508-EPKGleason
                                                            Doc 11                        Filed 01/08/18           Page   50 of 57
                                                                                                                    Case number (if known) 17-25508
                       First Name              Middle Name               Last Name


       Gifts with a total value of more than $600 per           Describe the gifts                                        Dates you gave   Value
       person                                                                                                             the gifts



      Person to Whom You Gave the Gift




      Number        Street



      City                             State   ZIP Code

      Person’s relationship to you

       Gifts with a total value of more than $600 per           Describe the gifts                                        Dates you gave   Value
       person                                                                                                             the gifts



      Person to Whom You Gave the Gift




      Number        Street



      City                             State   ZIP Code

      Person’s relationship to you


 14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

     ✔ No
     ❑
     ❑Yes. Fill in the details for each gift or contribution.
        Gifts or contributions to charities that      Describe what you contributed                                   Date you             Value
        total more than $600                                                                                          contributed



       Charity’s Name




       Number        Street



       City                    State     ZIP Code



 Part 6: List Certain Losses


 15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster, or gambling?

     ❑No
     ✔Yes. Fill in the details.
     ❑




Official Form 107                                            Statement of Financial Affairs for Individuals Filing for Bankruptcy                                  page 7
 Debtor 1             Kevin
                                       CaseChristopher
                                            17-25508-EPKGleason
                                                            Doc 11                       Filed 01/08/18          Page   51 of 57
                                                                                                                  Case number (if known) 17-25508
                      First Name            Middle Name               Last Name


         Describe the property you lost and        Describe any insurance coverage for the loss                     Date of your loss   Value of property lost
         how the loss occurred                     Include the amount that insurance has paid. List pending
                                                   insurance claims on line 33 of Schedule A/B: Property.
        Florida Lottery
                                                                                                                   2017                                $15.00



 Part 7: List Certain Payments or Transfers


 16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you consulted about seeking
     bankruptcy or preparing a bankruptcy petition?
     Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

      ❑No
      ✔Yes. Fill in the details.
      ❑
                                                     Description and value of any property transferred              Date payment or     Amount of payment
         Debthelper.com                                                                                             transfer was made
        Person Who Was Paid                         Prebankruptcy Credit Counseling
                                                                                                                    Dec 13, 2017                       $24.00
        Number      Street




         ,
        City                   State    ZIP Code


        Email or website address


        Person Who Made the Payment, if Not You


                                                     Description and value of any property transferred              Date payment or     Amount of payment
                                                                                                                    transfer was made
        Person Who Was Paid


        Number      Street




        City                   State    ZIP Code


        Email or website address


        Person Who Made the Payment, if Not You



17.   Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who promised to help you
      deal with your creditors or to make payments to your creditors?
      Do not include any payment or transfer that you listed on line 16.

      ✔ No
      ❑
      ❑Yes. Fill in the details.




Official Form 107                                          Statement of Financial Affairs for Individuals Filing for Bankruptcy                                  page 8
 Debtor 1             Kevin
                                       CaseChristopher
                                            17-25508-EPKGleason
                                                            Doc 11                     Filed 01/08/18            Page   52 of 57
                                                                                                                  Case number (if known) 17-25508
                      First Name            Middle Name             Last Name


                                                   Description and value of any property transferred               Date payment or         Amount of payment
                                                                                                                   transfer was made
        Person Who Was Paid



        Number      Street




        City                   State    ZIP Code


18.   Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property transferred in the ordinary
      course of your business or financial affairs?
      Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
      Do not include gifts and transfers that you have already listed on this statement.
      ❑No
      ✔Yes. Fill in the details.
      ❑
                                                   Description and value of property            Describe any property or payments received      Date transfer
                                                   transferred                                  or debts paid in exchange                       was made
        Brian P. O'Sullivan                        2005 Honda Ruckus, broken                  $500.00
        Person Who Received Transfer
                                                                                                                                               Oct 02, 2017
        428 W Wisconsin Ave
        Number      Street




         Deland, FL 32720-4135
        City                   State    ZIP Code
        Person's relationship to you None
                                                   Double Kayak                               $125.00
         Neighbor                                                                                                                              Jun 09, 2017
        Person Who Received Transfer


        Number      Street




         , FL
        City                   State    ZIP Code
        Person's relationship to you wife
                                                   Closed Florida Pre-paid college account    4552.86
         Ciara Gleason                             and used proceeds to pay for off-campus                                                     Apr 25, 2016
        Person Who Received Transfer
                                                   housing
        1504 Summer Ave
        Number      Street




         Jupiter, FL 33469-3120
        City                   State    ZIP Code
        Person's relationship to you Daughter

 19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a beneficiary?(These are
     often called asset-protection devices.)
      ✔ No
      ❑
      ❑Yes. Fill in the details.




Official Form 107                                         Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 9
 Debtor 1              Kevin
                                       CaseChristopher
                                            17-25508-EPKGleason
                                                            Doc 11                         Filed 01/08/18              Page   53 of 57
                                                                                                                        Case number (if known) 17-25508
                       First Name            Middle Name               Last Name


                                                     Description and value of the property transferred                                                  Date transfer was
                                                                                                                                                        made


       Name of trust




 Part 8: List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

 20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed, sold, moved, or
     transferred?
     Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage houses, pension
     funds, cooperatives, associations, and other financial institutions.

     ✔ No
     ❑
     ❑Yes. Fill in the details.
                                                      Last 4 digits of account number            Type of account or          Date account was             Last balance
                                                                                                 instrument                  closed, sold, moved, or      before closing or
                                                                                                                             transferred                  transfer

       Name of Financial Institution
                                                      XXXX–                                      ❑Checking
                                                                                                 ❑Savings
       Number       Street
                                                                                                 ❑Money market
                                                                                                 ❑Brokerage
                                                                                                 ❑Other
       City                    State    ZIP Code


       Name of Financial Institution
                                                      XXXX–                                      ❑Checking
                                                                                                 ❑Savings
       Number       Street
                                                                                                 ❑Money market
                                                                                                 ❑Brokerage
                                                                                                 ❑Other
       City                    State    ZIP Code


 21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities, cash, or other valuables?

     ✔ No
     ❑
     ❑Yes. Fill in the details.
                                                        Who else had access to it?                       Describe the contents                            Do you still have
                                                                                                                                                          it?

                                                                                                                                                         ❑No
       Name of Financial Institution                  Name
                                                                                                                                                         ❑Yes

       Number       Street                            Number       Street



                                                      City                   State    ZIP Code

       City                    State    ZIP Code

 22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

     ❑No
     ✔Yes. Fill in the details.
     ❑

Official Form 107                                            Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 10
 Debtor 1             Kevin
                                      CaseChristopher
                                           17-25508-EPKGleason
                                                           Doc 11                          Filed 01/08/18            Page   54 of 57
                                                                                                                      Case number (if known) 17-25508
                      First Name               Middle Name              Last Name


                                                           Who else has or had access to it?           Describe the contents                            Do you still have
                                                                                                                                                        it?
                                                                                                      misc reclaimed building materials, cabinets,
        Mildew Manor                                   Self, Patricia Ecker Gleason, Stanley          toilets, bidets, reclaimed wood flooring,         ❑No
       Name of Storage Facility                        Svetich
                                                      Name
                                                                                                      reclaimed doors                                   ✔Yes
                                                                                                                                                        ❑
        1312 Polk Street
       Number       Street
                                                      Number        Street


                                                       ,
        Hollywood, FL 33019                           City                     State    ZIP Code
       City                       State    ZIP Code


 Part 9: Identify Property You Hold or Control for Someone Else

 23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust for someone.

     ❑No
     ✔Yes. Fill in the details.
     ❑
                                                           Where is the property?                      Describe the property                            Value
                                                                                                      personal property of Patricia Ecker Gleason,
        Gleason, Patricia Ecker                        1504 Summer Ave                                and TBE, clothing, jewelry, artwork, keepsakes,              $0.00
       Owner's Name
                                                      Number        Street                            electronics, furniture, firearms and
                                                                                                      accessories. Large photograph of Bayside
        1504 Summer Ave                                                                               Marketplace in Miami. Most in Jupiter, some in
       Number       Street
                                                                                                      Hollywood.
                                                       Jupiter, FL 33469-3120
                                                      City                    State    ZIP Code

        Jupiter, FL 33469-3120
       City                   State       ZIP Code

                                                                                                      cell phone, notebook computer, computer
        Florida Bankruptcy Group, LLC                  4121 N 31st Avenue                             backpack, portable accessories, all office                   $0.00
       Owner's Name
                                                      Number        Street                            equipment and contents of the office and stored
                                                                                                      at the office, at 4121 N 31st Ave.
        4121 N 31st Avenue
       Number       Street
                                                       Hollywood, FL 33021
                                                      City                    State    ZIP Code

        Hollywood, FL 33021
       City                   State       ZIP Code

                                                                                                       Chapter 11 disbursing agent account
        V ktoria Benkovitch                            Seaside National Bank                                                                                    $450.00
       Owner's Name
                                                      Number        Street


       Number       Street
                                                       ,
                                                      City                    State    ZIP Code

        ,
       City                   State       ZIP Code

                                                                                                       Funds in trust account
        IOLTA                                          Wells Fargo IOLTA acct                                                                                     $25.00
       Owner's Name
                                                      Number        Street


       Number       Street
                                                       ,
                                                      City                    State    ZIP Code

        ,
       City                   State       ZIP Code




Official Form 107                                             Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 11
 Debtor 1              Kevin
                                       CaseChristopher
                                            17-25508-EPKGleason
                                                            Doc 11                                Filed 01/08/18           Page   55 of 57
                                                                                                                            Case number (if known) 17-25508
                       First Name             Middle Name                Last Name


                                                                                                             firearms and accessories, personal records
         daughter                                       4121 N 31st Avenue                                                                                                $1.00
        Owner's Name
                                                        Number       Street


        Number      Street
                                                        Hollywood, FL 33021
                                                        City                         State   ZIP Code

         ,
        City                   State    ZIP Code

                                                                                                             Firearms and accessories
         Son                                            4121 N 31st Avenue                                                                                                $1.00
        Owner's Name
                                                        Number       Street


        Number      Street
                                                        Hollywood, FL 33021
                                                        City                         State   ZIP Code

         ,
        City                   State    ZIP Code


 Part 10: Give Details About Environmental Information

 For the purpose of Part 10, the following definitions apply:
      Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or toxic substances, wastes,
      or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or regulations controlling the cleanup of these substances,
      wastes, or material.
      Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used to own, operate, or utilize it,
      including disposal sites.
      Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance, hazardous material, pollutant,
      contaminant, or similar term.
 Report all notices, releases, and proceedings that you know about, regardless of when they occurred.
 24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

      ✔ No
      ❑
      ❑Yes. Fill in the details.
                                                        Governmental unit                               Environmental law, if you know it                    Date of notice


        Name of site                                  Governmental unit



        Number      Street                            Number        Street


                                                      City                   State     ZIP Code


        City                   State    ZIP Code


25.   Have you notified any governmental unit of any release of hazardous material?
      ✔ No
      ❑
      ❑Yes. Fill in the details.
                                                        Governmental unit                               Environmental law, if you know it                    Date of notice




Official Form 107                                              Statement of Financial Affairs for Individuals Filing for Bankruptcy                                           page 12
 Debtor 1               Kevin
                                        CaseChristopher
                                             17-25508-EPKGleason
                                                             Doc 11                             Filed 01/08/18              Page   56 of 57
                                                                                                                             Case number (if known) 17-25508
                        First Name             Middle Name               Last Name




       Name of site                                    Governmental unit



       Number        Street                            Number       Street


                                                       City                  State   ZIP Code


       City                     State    ZIP Code


 26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.
     ✔ No
     ❑
     ❑Yes. Fill in the details.
                                                         Court or agency                             Nature of the case                                        Status of the case


       Case title
                                                       Court Name
                                                                                                                                                           ❑Pending
                                                                                                                                                           ❑On appeal
                                                                                                                                                           ❑Concluded
                                                       Number       Street


       Case number
                                                       City                  State   ZIP Code


 Part 11: Give Details About Your Business or Connections to Any Business

 27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
            ❑ A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
            ✔ A member of a limited liability company (LLC) or limited liability partnership (LLP)
            ❑
            ❑ A partner in a partnership
            ✔ An officer, director, or managing executive of a corporation
            ❑
            ✔ An owner of at least 5% of the voting or equity securities of a corporation
            ❑
     ❑No. None of the above applies. Go to Part 12.
     ✔Yes. Check all that apply above and fill in the details below for each business.
     ❑
                                                          Describe the nature of the business                         Employer Identification number
        Florida Bankruptcy Group, LLC                                                                                 Do not include Social Security number or ITIN.
       Name
                                                         Law Firm
                                                                                                                        EIN:    3   7 – 1   5      9   1   1     5   3
        4121 N 31st Ave
       Number        Street
                                                          Name of accountant or bookkeeper                            Dates business existed
                                                         Patricia E Gleason
        Hollywood, FL 33021-2011                                                                                        From Nov 13, 2009 To
       City                     State    ZIP Code

                                                          Describe the nature of the business                         Employer Identification number
        Kevin Gleason, P.A.                                                                                           Do not include Social Security number or ITIN.
       Name
                                                         Law Office
                                                                                                                        EIN:    6   5 – 0   7      6   2   3     0   2
        4121 N 31st Ave
       Number        Street
                                                          Name of accountant or bookkeeper                            Dates business existed
                                                         Kevin C Gleason
        Hollywood, FL 33021-2011                                                                                        From Jan 11, 2017     To
       City                     State    ZIP Code




Official Form 107                                             Statement of Financial Affairs for Individuals Filing for Bankruptcy                                           page 13
 Debtor 1             Kevin
                                       CaseChristopher
                                            17-25508-EPKGleason
                                                            Doc 11                          Filed 01/08/18              Page   57 of 57
                                                                                                                         Case number (if known) 17-25508
                      First Name              Middle Name               Last Name


                                                        Describe the nature of the business                          Employer Identification number
                                                                                                                     Do not include Social Security number or ITIN.
        Name
                                                                                                                      EIN:           –

        Number      Street
                                                        Name of accountant or bookkeeper                             Dates business existed

                                                                                                                      From                    To

        City                   State    ZIP Code

 28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial institutions, creditors, or other
     parties.

     ✔ No
     ❑
     ❑Yes. Fill in the details below.
                                                        Date issued



        Name                                           MM / DD / YYYY



        Number      Street




        City                   State    ZIP Code


 Part 12: Sign Below

    I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers are true and
    correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection with a bankruptcy case
    can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



    ✘                  /s/ Kevin Christopher Gleason                        ✘
         Signature of Debtor 1                                                   Signature of Debtor 2


         Date 01/08/2018                                                         Date




    Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

    ✔ No
    ❑
    ❑Yes
    Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

    ✔ No
    ❑
    ❑Yes. Name of person                                                                               .        Attach the Bankruptcy Petition Preparer’s Notice,
                                                                                                                Declaration, and Signature (Official Form 119).




Official Form 107                                           Statement of Financial Affairs for Individuals Filing for Bankruptcy                                            page 14
